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                   1                          UNITED STATES OF AMERICA
                                            UNITED STATES DISTRICT COURT
                   2                       CENTRAL DISTRICT OF CALIFORNIA
                                                  WESTERN DIVISION
                   3

                   4                      HONORABLE CHRISTINA A. SNYDER
                                      UNITED STATES DISTRICT JUDGE PRESIDING
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                          UNITED STATES OF AMERICA,                                             ~.
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                                          PLAINTIFF,
                  8
                          VS.                                        CASE NO: CR
                  9                                                  02-00003(B)-CAS
                          KHALIL MOHANIl~IED,
                 10                                                         U.S. DISTRICT COURT
                                          DEFENDANT.                   CENTRAL DISTRICT OF CALIFORNIA

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                                       REPORTER'S TRANSCRIPT OF PROCEEDINGS
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                                                MONDAY, AUGUST 15, 2005
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                                                LOS ANGELES, CALIFORNIA
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                 22                        LAURA MILLER ELIAS, CSR 10019
                                          FEDERAL OFFICIAL COURT REPORTER
                 23                      312 NORTH SPRING STREET, ROOM 45
                                           LOS ANGELES, CALIFORNIA 90012
'/               24                              PH: (213)620-0890

                 25




                                           UNITED STATES DISTRICT COURT
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    2    APPEARANCES OF COUNSEL:

    3    ON BEHALF OF PLAINTIFF:

    4                DEBRA W. YANG
                     UNITED STATES ATTORNEY
    5
                     BY: MICHAEL STERN
    6                ASSISTANT UNITED STATES ATTORNEY

    7                1100 UNITED STATES COURTHOUSE
                     312 NORTH SPRING STREET
    8                LOS ANGELES, CA 90012

   9

  10
         ON BEHALF OF DEFENDANT MOHAMMED:
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  12
                     DAVID KATZ, ESQ.
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    1    LOS ANGELES, CALIFORNIA; MONDAY, AUGUST 15, 2005; 2:40 P.M.

    2

    3                THE CLERK:    Calling Calendar Item 17.

    4                Case No. CR 02-3(B).

    5                United States of America versus Khalil Mohammed.

    6                Counsel, please state your appearances.

   7                 MR. STERN:    Good afternoon, Your Honor.      Michael

   8     Stern appearing on behalf of the United States.

   9                 THE COURT:    Good afternoon.

  10                 MR. KATZ:    Good afternoon, Your Honor.      David Katz

  11     appearing with and for Mr. Khalil Mohammed who's present in

  12     custody.

  13                 THE COURT:    All right.    Good afternoon, everybody.

  14                 Okay.   It appears that the presentence report was

  15     disclosed on August 18, 2004.       Since that time, there has

  16     been an addendum to the presentence report.         In addition,

  17     there are numerous filings I think beginning with the

  18     responses and objections to the presentence report by the

  19     defendants followed by the response to the PSR addendum and

  20     objection by the defendants.       And then there was the

  21     government's response to Khalil Mohammed's sentencing

  22     memorandum and motion for sentence reduction, and then there

  23     was a reply to the government's response which was filed

  24     August 15th.

  25                Does that appear to cover everything, Mr. Katz?



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    1                MR. KATZ:    Yes, Your Honor, except I believe the

    2    last motion was filed last Friday which was the 12th.

    3                THE COURT:    Right.    No, I meant your reply is dated

    4    the 15th.    His motion was the 12th, you're exactly right.

    5                MR. KATZ:    I --

    6                THE COURT:    I have something from you that shows

    7    filed August 15th.

   8                 MR. KATZ:    Oh.    Anyway, I had filed the reply on

   9     the 12th, and I thought the Court got a courtesy copy late

  10     Friday afternoon.

  11                 THE COURT:    I didn't get it until today.      It's

  12     dated the 12th, but it was filed on the 15th.         The filing

  13     stamp is the 15th, but I've reviewed it anyway.

  14                 MR. KATZ:    Oh, thank you very much, Your Honor.       I

  15     think it was lodged that day because of the in camera aspect

  16     of it.

  17                 THE COURT:    Right.    Okay.   Now, I'm sure, Mr. Katz,

  18     you've had an opportunity to review the government's position

  19     and the presentence report with your client; is that correct?

  20                 MR. KATZ:    Yes, we have, Your Honor.

  21                 THE COURT:    Okay.    And do you have any additional

  22     corrections or objections to the presentence report?

  23                 MR. KATZ:    Your Honor, may I just address those

  24     briefly?

  25                 THE COURT:    Sure.




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    1                MR. KATZ:    Your Honor, the first thing I would like

    2    to do very briefly if I might just because they have come a

    3    long way, and I'd just like to acknowledge the Atrash family

    4    who's here.

    5                THE COURT:    Yes.

    6                MR. KATZ:    And this is Mr. Adly Atrash and Mrs.

   7     Quadre Atrash.     And I'll render every name mispronounced in

   8     Arabic so I apologize to everyone.        And then there's Fallal

   9     Atrash and also, I guess, Jameen Atrash, Adele and Haneen

  10     Atrash.    Also, Rasha Atrash is here, and she's actually the

  11     sister, Your Honor, of Isa Atrash who's before the Court.

  12     These two people, the husband and wife, are the parents of

  13     Mr. Isa Atrash and of his sister, Rasha.

  14                 And also in court, Your Honor are the following

  15     children all with the last name Mohammed:         Iesha Mohammed,

  16     Duowa, Akram, Allah, Safah, Fameda, Merad, Momen and Elham.

  17     And then this is a cousin present behind me, Your Honor.

  18                 THE COURT:    All right.

  19                 MR. STERN:    And Your Honor, it always seems like in

  20     sentencing remarks, we start with what's probably not the

  21     most important thing, but it is required, and those are the

  22     objections to the presentence report itself.         So if I could

  23     briefly touch on those, they're at pages 8 to 11 of the

  24     presentence report.

  25                THE COURT:    All right.



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    ~~               MR. STERN:    Your Honor, could I ask you a favor?

    2    Your name plate shines right in my eye.         Thank you,

    3    Your Honor.

    4                Your Honor, the first one are the alleged akas, and

    5    I would ask that the Court strike the aka Khalil Ashur.

    6    There hasn't been any submission by either the government or

    7    the probation office refuting my request in this regard, and

   8     my request was made back on July 12th.         So I would ask that.

   9     And we could prepare these all in writing, Your Honor, but I

  10     think I have to put them on the record here at the hearing.

  11                 THE COURT:    Okay.

  12                 MR. STERN:    I would ask that that aka be stricken,

  13     and that it simply be explained that the others are not

  14     illegal or criminal akas, but that they're things like in

  15     Arabic, I know the Court knows this from its experience in

  16     this case and others, but Abu -- if a man has --

  17                 THE COURT:    The eldest son of --

  18                 MR. STERN:    Eldest son, right.     Then he's know as

  19     Abu, the father of the eldest son's first name.          And also

  20     people are known by the town they're from so Khalil Al Tarife

  21     means Khalil from the town of Tarife.

  22                 Your Honor, the second one is a reference to

  23     Abdallah, and it just should be clarified in the PSR that

  24     that's a reference to Mr. Mohammad Abdallah and not to

  25     Abdallah Ayyeh, Mr. Mohammed's brother.



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    1                The third one is a reference to the alleged threat,

    2    and we may have some more discussion about this later on, but

    3    it's our position that the threat should be deleted from the

   4     presentence report.      And while the government's addressed

    5    this issue, they haven't addressed it in terms of our request

   6     made over a month ago to delete it from the presentence

   7     report.

   8                 And our position is just this, Your Honor.         This is

   9     a judgment call.     It's something that's within the Court's

  10     discretion.    If Mr. Mohammed has a period of time left to

  11     serve in an institution, Your Honor, that could really affect

  12     his designation.     And after all he's been through, I think

  13     having that threat in there and having to try to explain it

  14     and then having a counselor who gets it, we can avoid the

  15     whole problem by simply deleting it.        I'm not asking that the

  16     Court cannot consider it for whatever arguments Mr. Stern

  17     wants to make with regard to what the sentence ought to be.

  18     I'm just asking right now that you delete it from the PSR.

  19                 The next one, Your Honor, is his prior arrest, and

  20     this actually has not been opposed either in the addendum or

  21     in the government filing.      The prior arrest was 14 years ago.

  22     It was a mere arrest.      Again, I have the same concern for

  23     institutional placement with regard to Mr. Mohammed that

  24     because somebody could think that he hit somebody, that that

  25     could somehow make him designated not to a camp.



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    1                And the last which there's also been no objection

    2    from presentence which is gratifying because it's sort of

    3    their issue and none from the government in its position last

    4    Thursday is this thing about that he did not make all

    5    requested financial disclosures because he had no access to

    6    the documents.     He has no assets, and he's been in custody,

   7     not that there was any refusal or desire not to comply.

   8                 And that's an important point because one of the

   9     things we're gonna argue is extraordinary post-offense

  10     rehabilitation.     And I don't want the Court to think that in

  11     one wit, he was not compliant with probation because I

  12     understand he was completely compliant with them.

  13                 Those are my only comments on the report,

  14     Your Honor.

  15                 THE COURT:    Okay.    V~hy don't we just start with

  16     Mr. Stern's response.

  17                 Do we care about striking the aka?

  18                 MR. STERN:    I don't care except to the extent that

  19     somehow the Bureau of Prisons has akas that allow them to

  20     create segregation orders.        The reason that we had the akas

  21     is because many of the witnesses that we had and during the

  22     course of the tapes, the defendant was identified as those

  23     akas.   Frankly, I don't think they are damning or will cause

  24     the defendant problems so it essentially doesn't matter to

  25     me.   I don't know, however, if it will assist BOP in their



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    ~~    separation orders.

    2                 THE COURT:   I would doubt that it would but --

    3                 MR. STERN:   I'm not sure why they're problematic

    4     for defense counsel.     It's not like Khalil Mohammed aka Jack

    5     The Ripper.

    6                 THE COURT:   Well, I understand the issue, but I'm

    7     just trying to get your position on them.

    8                 As far as clarifying that Abdallah means Mohammad

    9     Abdallah?

   10                 MR. STERN:   I think that's correct.

   11                 THE COURT:   Okay, so we're going to direct that

   Fyn    that change be made for sure.

   13                 The question of the threat, deleting it from the

   14     PSR, what is the government's position on that if you can

   15     argue it?

   16                 MR. STERN:   Sure.   We object to deleting accurate

   17     information from the PSR.

   18                 THE COURT:   Okay.

   19                 MR. STERN:   To the extent that BOP tries to figure

   20    out a defendant's background and how they think should

   21    classify them, the threat is what it is, and to the extent

   22    that the Court wanted to know for itself exactly what the

   23    threat was, we included the transcript.

   24                 THE COURT:   I understand.    I understand.

   25                 The prior arrest?



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    1                MR. STERN:    Again, I think part of what BOP uses is

    2     a defendant's prior background to determine how they can

    3     calculate how he might act in the future.         Certainly, the PSR

    4     discusses how long ago the offense was, and BOP will be able

    5     to take that into consideration.       Essentially what defense

    6     counsel is asking is that things that are or may be perceived

    7     as detrimental to defendant even though they're accurate be

    8     deleted, and we do not think that's appropriate to do.

    9                THE COURT:    Okay.   And then finally, the statement

   10     that the defendant didn't make all required financial

   11     disclosures?

   ~~~               MR. STERN:    I don't know the answer to that.

   13     That's exclusively a determination by probation.         I wasn't

   14     part of that process.

   15                THE COURT:    All right.

   16                MR. KATZ:    Just a very brief reply.      Probation

   ~y~    didn't come back on that point in the addendum.         I think that

   18     that's pretty conclusive.

   19                Your Honor, arrests mean nothing.        There are a

   20    hundred, maybe there's a thousand cases that hold that

   21    arrests are absolutely meaningless.        They mean nothing, Your

   22    Honor, and yet somehow if he pulls the wrong person in

   23    prison, this will be held against him.         And I agree that if

  24     it connotes some meaningful information, maybe that

  25     distinguishes it from the threat although I would ask you to



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    1     use your discretion regarding the threat.         There's tape of

    2     the threat.    This arrest is totally bogus from 14 years ago.

    3     It means nothing.

    4                 THE COURT:   Well, I understand that, but I'm not

    5     going to start interfering with the presentence report.

    6     Obviously, you can take the matter up with BOP officials.

    7                 I'm not sure that there's any value in striking the

    8     aka.   I don't think it has pejorative effect that you do,

    9     Mr. Katz.

   10                 I'm not going to direct that the threat information

   11     be deleted, and I'm not gonna direct that the prior arrest be

   12     deleted.

   13                 As far as the required financial disclosures, I'm

   14     going to let you argue.      Obviously, it's for extraordinary

   15    post-sentencing rehabilitation.        I'm not sure it applies

   16    here, but certainly you ought to be able to argue it.           But I

   17     think the fact of the matter is depending upon the -- you

   18    know, what you argue, the objection to the financial

   19    disclosure information may be mooted by my ruling.

   20                 So let's assume that all I'm prepared to do right

   21    now is to concede that -- and state for the record that the

   22    Abdallah referred to is Mohammad Abdallah.         I don't think

  23     there's a need to correct the presentence report because I

  24     don't think it's going to have any impact.         Otherwise, I'm

  25     gonna let the sentencing report stand.



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    1                MR. KATZ:    Okay.   Your Honor, I guess the record

    2     will reflect this whole course of events, and the Court, of

    3     course, understands that the probation, I thought what they

    4     said was kind of ambiguous.      I made it clear that it wasn't

    5     an unwillingness to comply, and they never came back and

    6     said, you know, Mr. Katz is wrong, there was unwillingness.

    7     I think we're all kind of agreed that there was no

    8     unwillingness.    But it really doesn't matter to the BOP.         It

    9     matters to Your Honor, and I think Your Honor gets it.

   10                THE COURT:    I understand.    And the real point here

   11     which we resolved by the government's position, and I would

   12     have gone with the plea anyway, is the plus 2 versus the plus

   13     3, and that seems to have resolved itself and become a moot

   14     point by virtue of the fact that the government concedes that

   15    it's going to stand by the plea, and that's exactly what I

   16    would have done in any event.       So that to me is the most

   17    significant issue in the presentence report which seems to

   18    have resolved itself.

   19                MR. KATZ:    And I want to say, Your Honor, because

  20     there was a lot more heat than light to some extent in the

   21    exchange between Mr. Stern and myself that I am gratified on

  22     behalf of my client that they recognized and are endorsing

  23     only plus 2 for the role and also the safety valve.           Because

  24     what that means is we're only arguing about the difference

  25     between the 5 points that they're recommending for 5K1 and




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    1     our position that really more 5K 1 points are merited in this

    2     case, and also that there are some Booker factors.          So I

    3     think maybe I should go to the 5K1 first.

    4                  THE COURT:    I think that that would be the thing to

    5     do, yes.

    6                  MR. KATZ:    Your Honor, a defense attorney's always

    7     at a disadvantage in this situation, and I don't envy the

    8     Court in this regard because you have a defense attorney who

    9     says, I believe that the cooperation was more, and then the

   10     government says, well, no, we believe it's worth 5, and we're

   11     the government, and we've had an overview over this whole

   12     situation.

   13                  And that's one reason why particularly in this case

   14     because I was so concerned even before we negotiated the plea

   15     that we were going to be right here having an argument where

   16     I would consider the government's position to be ungrateful

   17     or miserly and unfair to Mr. Mohammed that I tried to keep

   18     pretty close records of what was going on.

   19                And I went to these meetings even though there were

   20    lots of days I'm sure the Court can imagine where I had some

   21    retained client or something else that I was really eager to

   22    do that day, but I really made an effort to go to hours and

   23    hours of Mr. Mohammed's cooperation sessions.

   24                I got one thing wrong in the pleading I filed over

   25    a month ago.     He did not speak face-to-face with Mr. Alasoud.



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    1     I apologize.    But Your Honor, he did speak face-to-face with

    2     six different people.

    3                Now, the government basically is saying that

    4     Mohammad Hammad -- the cooperation he gave regarding Mohammad

    5     Hammad was extremely valuable, and the cooperation he gave

    6     regarding Mr. Musitef was extremely valuable.         And I can't

    7     swear that.    I have some other things that he did that

    8     they're giving him no credit for.

    9                But Your Honor, I can't square that with 5 points.

   10     If you look at the reality of this situation where people

   11     like Hamayel and Khahallah and Shabib were not recommended

   12     anything for role by the government, that is the sub rosa in

   13     effect minus 2 5K1 added on to the 9 or 10 points that the

   14     government recommended for them.       Now you're really looking

   15     at people who had the same role as Mr. Mohammed, and

   16     therefore, you're looking at people who got effectively 10,

   17    11, 12 points.

   18                So how in the context of that could he get only 5?

   19    There is really only one reason, Your Honor.          There's only

   20    one reason for the government.       And I was in one of the

  21     sentencing of his brother where you said let's get real.            So

  22     let's get real.     They want to send a message to the defense

  23     bar, particularly this Assistant U.S. Attorney wants to send

  24     his message to the defense bar, plead your client early,

  ~~     early, early.     Make my life easy.     And there's a lot more to



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    ~■    justice than that.     We'll get to that in a second, some of

    2     the many reasons that Mr. Khalil Mohammed did not plead

    3     guilty early on.

    4                  But the biggest problem from a point of view of

    5     justice of a person who doesn't plead guilty early is that he

    6     or she doesn't have an opportunity to help much.         Mr.

    7     Mohammed pleaded guilty and started his efforts to help the

    8     government in plenty of time to help an extraordinary amount.

    9    I saw it.      The court and the government got the benefit of

   10    it.

   11                  Mr. Musitef was a man on his way to trial.        He was

   ~~~    gonna sit here for weeks like Said Abdelaziz and his brother

   13     did.     That is a detriment to the system.     This is a scarce

  14     r esource, Your Honor, and there's nothing wrong with treating

  15      f ederal trial time like the very scarce resource it is.         And

  16     Mr. Mohammed saved that to the judicial system, and he saved

  17      this to the prosecutors because Musitef was gonna go to

  18      trial.

  19                   And Mr. Mohammed, he was diligent, he was

   20     thoughtful, he put himself out there.       He said, what's going

   21     to work here? I went through the tapes with the government,

   22     that's what they wanted, but you know what helped even more

   23    than what the government's asking for?        If I actually sat

   24    down with Mr. Musitef so Mr. Stern to his credit arranged it,

   25    the two of them sat down.       There was a concern that the



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    ~■    lawyers might get in the way so the two of them sat in a room

    2     in the U.S. Attorney's Office, Mr. Musitef who was out on

    3     bail and Mr. Mohammed who was in custody.

    4                Now, did he plead guilty the next day?         No, but he

    5     did plead guilty.     And I spoke with his attorney, Mr. Treman,

    6     and I explained the things.      And, you know, the defense in

    7     these cases, Your Honor, is not, I didn't sell boxes.          It

    8     wasn't that I wasn't there.      That's when the government says,

    9     oh, their case is so overwhelming.

   10                The issue that's interesting in these cases because

   11     it's not cocaine or heroin or something like that is do you

   12     have a specific knowledge beyond a reasonable doubt that it's

   13     going to be used, not in some grain market, not for diet

   14     pills, but that it's gonna be used to make methamphetamine.

   15     And he explained clearly and I explained clearly to Mr. Mr.

   16     Musitef's attorney that his defense that he merely moved

   17    boxes without knowledge was never gonna wash.          And that's

   18     what brought Mr. Musitef around.

   19                They also acquired information from my client about

   20    Mr. Musitef's son, and that was a really sad situation.

   21    Because I can tell you that whatever the Court thinks of this

   22    record, my client has impressed me over 3-and-a-half years as

   23    someone with a really big heart who cares about other people.

   24    And it was a tragic situation.       Musitef was an older man who

   25    knew what he was getting into.       But his son?     And Mr.



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    1     Mohammed was not enthusiastic about helping in that regard,

    2     but the truth is the truth.      And he identified the

    3     information he had about Mr. Ehab, Musitef's son, and

    4     thereafter in my recollection of the chronology, Mr.

    5     Musitef's son was indicted.

    6                  Let's talk about Mohammad Hammad for a minute, Your

    7     Honor.   Mr. Mohammad Hammad.     This was kind of a mess, and I

    8     sort of understand through the grapevine that Mohammad

    9     Abdallah wanted to make it more of a mess at certain times.

   10     But I had represented Mr. Mohammad Hammad in the state court

   11     years ago.     And Mr. Mohammed was concerned if there was going

   12     to be any kind of problem, and we spoke it through, and I

   13     understand he wrote a letter, and talked it through with

   14     independent counsel, Your Honor, and he came to the

   15     conclusion that he was comfortable with the situation.

   16                  Tn~hen it comes to Mr. Mohammed, whatever he may say,

   17    he was comfortable with the situation because he's had a

   18    series of lawyers and he could have come to the Court and

   19    said, look, I'm not comfortable with Mr. Katz having

   20    represented me years ago in the state court and now

  21     representing Khalil Mohammed.       But Khalil Mohammed had a duty

  22     in this case, and he was gonna live up to this agreement

  23     letter and spirit in every way that he could so he said,

   24    well, this is the way it is.

  25                 Now, here's the interesting thing, Your Honor.          He



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    1     had actually said to the government before when we had all

    2     these sessions about Musitef, and we spent so much time on

    3     Musitef, he said, aren't you interested in Mohammad Hammad?

    4     I mean, he was my big customer, he was the guy I was selling

    5     to all the time, he's on these tapes, I can identify his

    6     voice, but he's not even charged.

    7                And there was really a lack of interest, and it

    8     surprised us.    But his job is not to run the cooperation.

    9     It's the government's job to run the cooperation.          So he did

   10     what he was asked, and although he volunteered that and said

   11     he was willing to do that, the focus was on Musitef and

   12    Musitef's son.

   13                But what happened was Mohammad Hammad was arrested

   14    one day.    I think it was a little bit before Election Day

   15    2004.    And he was going to try to get bail, and they wanted

   16    Mr. Mohammed to help out with that.        He dropped everything.

   17    He was at the MDC going through the tapes and working on

   18    that, and I dropped everything as much as I could, and we

   19    went through that.

  20                 And first way the government used that was to deny

  21     bail to Mr. Mohammad Hammad.       I've read the transcript.      And

  22     they made a big point -- the government here made a big point

  23     in front of Magistrate Judge Mc Mann.        They've said, look,

  24     we've got a person close to him, we've got a person who's

  25     cooperating, we've got a person who's identified very



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    1     incriminating calls.     That was that Mr. Mohammed did at the

    2     drop of a hat hour after hour after to help the government

    3     first deny bail to Mr. Mohammad Hammad.        After that, he went

    4     through and found the most incriminating tapes.

    5                 Now, whatever Mohammad Hammad wants to say now to

    6     try to maybe deny him points or back bite or whatever, Your

    7     Honor, the reality is not only was he prepared to testify,

    8     and Mohammad Hammad knew it, but if Mr. Mohammad Hammad says,

    9     boy, those tapes were powerful, they were a big part of my

   10     inducement, they were powerful because the government didn't

   11     have to cull through hundreds and hundreds of tapes, Your

   ~~~    Honor.    They were focused right on the four or five that most

   13     heard Mr. Mohammad Hammad.

   14                 I understand that Mr. Hammad has since pleaded

   15     guilty.   And he was someone else who was talking about going

   16     to trial and wanting a speedy trial and this and that and the

   17     other thing, and that saved the court -- and I don't think

   18     anyone was more instrumental -- I would submit to the Court

   19     nobody more instrumental, and I think record shows this, in

   20    avoiding two separate because they were two very separately

   21     positioned people in different transactions than Mr. Mohammed

   22    who weighed in and really induced the guilty pleas in both of

   23     those cases.    That's the record.

   24                But Your Honor, beyond those 5 points, and I think

   25    that's worth more than 5 points, but there's his brother.            I



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    1     was so pleased that I had a chance to sit here last week,

    2     frankly, I was pleased for my client that Your Honor had a

    3     chance to see Mr. Abdallah Ayyeh and his attitude toward

    4     pleading guilty.     My client went through -- what this court

    5     went through for however many minutes it was, he went through

    6     that for months.     He went through that for months.

    7                  And Abdallah Ayyeh as I'm sure as I'm standing here

    8     would have gone to trial.      He almost tried to go to trial at

    9     the -- at the time of his sentencing.        He absolutely would

   10     have gone to trial except his own brother spent months

   11     avoiding that trial.     And we always thought that was worth 3

   12     or 4 points all by itself.      And apparently, the government's

   13     not willing to give him anything for that, Your Honor.          And

   14     that's ungrateful, and that's not right.

   15                  There's also Amjad Ayeh who's his relative, too.

   16     Amjad Ayeh was on the fence.      He was going back, he was going

   17     forvuard.    Mr. Mohammed said, go forth, plead guilty.       It's

   18     best for you, it's best for everyone.        And he did plead

   19     guilty.     True that was in Amjad's Ayeh's best interest.        But

   20     who helped him to see that that was his best interest?          Who

   21     helped induced him to plead guilty?       My client.    And then as

   22    I'm sure the Court recalls, both Mr. Abdallah Ayyeh and Amjad

   23     Ayeh only came in at the time that my client did.          And that's

   24    a huge inducement, too, Your Honor.

   25                  And then there's Adnan Isa.     And the reality is the



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    1     two of them were on the floor, they spent a lot of time

    2     talking about their cases.      These fellows talk about their

    3     cases and don't mention it to their lawyers.         It's just what

    4     they do.   I mean, they're in there all day long on the same

    5     floor in the same case.      And my client stressed and stressed

    6     to Mr. Adnan Isa that he really ought to plead guilty.          And

    7     my recollection is that all the months he had, I think it was

    8     about 2 years, and with all the things that Adnan Isa's

    9     brothers did, when does Adnan in?       After my client decides to

   10     plead guilty and after my client talks to him.

   11                And then there is the thing -- all I'm trying to

   12     say about Alasoud, Your Honor, is that my client said, you

   13     know, this is that Khalil.      He really could break that case

   14     for you.   Focus on him.     If Alasoud wants to go to trial,

   15     focus on Izaak Khalil.     It's a minor thing, but it's

   16    something my client was also trying to do in that regard.

   17                And then on top of that, there's this Ahmad Jaris.

   18    Now, Ahmad Jaris as I understand it was not somebody that my

   19    client had a lot of direct knowledge about, but they were

   20    also in jail together.      They were also talking about the

  21     case.    And I got a very nice call last Monday or Tuesday from

  22     Ahmad Jaris' attorney who told me, hey, you know what?

  23     Mr. Stern called up and wanted me to find out what was the

  24     impact on Ahmad Jaris.      I went and spoke to my client, Mr.

  25     Jaris, and to and behold, what you're saying was right.           Mr.



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    1     Mohammed did have a major impact on persuading Jaris to plead

    2     guilty.

    3                 So the only other thing I'd like to mention about

    4     the 5K1, Your Honor, and all the sessions that we had and all

    5     the things that we did, and I don't know if this is the right

    6     time, Your Honor, but the so-called why was it 2 years?           And

    7     I'm really happy to address that.       Should I do it right now?

    8                THE COURT:    Sure.

    9                MR. KATZ:    Your Honor, different attorneys see

   10     their jobs differently.      And Mr. Stern will always see his

   11     job a certain way, and I'll see mine a certain way.          And you

   12     have in some sense a little bit of a clash of cultures right

   13     here, and if we had another case together, we'd probably have

   14     the same clash again.

   15                THE COURT:    I have no doubt.

   16                MR. KATZ:    I don't want to see my client get caught

   17    up in the middle of it or end up with so many fewer

   18    5K1 points because of it, Your Honor.

   19                I tried one of these cases.       I thought it was in

  20     front of Judge Timalin.      It was one of the finest prosecutors

   21    in the U.S. Attorney's Office and ability who was up against

  22     me.   And the jury was out.       I thought I was really in the

  23     hunt, Your Honor.     I had an expert.

  24                 And this is a difficult issue in pseudoephedrine

  25     cases if you focus it right with an expert to make the



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    1     government prove beyond a reasonable doubt that knowledge.

    2     When you have thousands of tapes Your Honor that your client

    3     is on, it's an opportunity as well as a potential disaster

    4     because if an informant comes forth -- and Mr. Stern says we

    5     had lots of informants, so you're an idiot, Mr. Katz, or foot

    6     dragger to sit around and not recommend that your client

    7     plead guilty earlier.

    8                 But if you have an informant who's on 50 tapes

    9     taking about picking up boxes and making deliveries and

   10     getting money, and he never talks about what it's going to be

   11     used for, that's something you need to know.         Because if you

   12     got 50 conversations, and the guy then sits up there and

   13     says, to and behold, the one time it wasn't recorded, yeah,

   14     that's the time we talked about, right, you take the 50, and

   15     you impeach him.     Okay.

   16                 And the thing that strikes me given what the

   17     government is arguing here is that they never came forward at

   18     the beginning of the case which is something I used to do

   19     when I was an AUSA and say, look, here it is, friend.          Here's

   20    the top hits.     Here's like Dave Letterman's top 10.        Beat

   21     these ten things, okay?      We got this, we got that.

   22                 The best tape we ever found in this case, the best

   23    tape for the government was not one the government told us

   24    about.    It was this one about peppers or tomatoes or

  25     something.    And since there were two kinds of peppers or



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    1     tomatoes that were cooked differently, and since when

    2     pseudoephedrine is made into meth, it's cooked in different

    3     processes --

    4                 THE COURT:    I understand.

    5                 MR. KATZ:    That was a devastating tape for us.       I

    6     said Mr. Mohammed, we cannot go to trial in view of this

    7     tape.    And that took a long time.

    8                 Now why?    V~hy did it take 2 years to go through the

    9     tapes?   This case was built right or wrong on Mr. Mohammed's

   10     phone.   It wasn't built on Mr. Shabib's phone, could have

   11     been, or Mr. Hamayel's phone, but it wasn't.          It was built on

   12     his phone, large amounts on his phone.        And so there were

   13     these hundreds if not thousands of phone calls in Arabic

   14     which I don't speak a word of, Your Honor.         And so I needed

   15     Mr. Mohammed to be basically my translator, my explainer and

   16     you name it.

   17                 They were two huge problems that happened.        One was

   18     his availability.      One was mine.   It just so happened to be a

   19     very bad time, and I explained that in my reply.         I was in a

   20     trial in federal court for 4-and-a-half months.         I was in

   21     Nebraska.   I was someplace else.      I had a huge amount of

   22     trials and a huge amount of work.       I just did.    I don't want

   23    to say it was down to his detriment, but I just did.

   24                 The other problems, Your Honor, and I've gone

  25     through them already, they're not made up or concocted, he



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    1     was in Las Vegas for a month.      I had no access to him.      I

    2     never visited him or spoke to him.       He then got sent out to

    3     Kern County which was a huge problem.        And the Court, thank

    4     you, resolved it and brought these fellows back.          And all

    5     these defense attorneys were complaining that they couldn't

    6     make any progress, they couldn't go out, there couldn't do

    7     anything.    He was out there, what, a couple of months?

    8                 Later on he was to be sent to San Bernardino, and

    9     the Court had to intervene again and bring him back.          He also

   10     got wrongly put in solitary confinement.        That's yet another

   11     month.   And you can't work effective when your client's in

   12    solitary confinement with the materials.         He laboriously made

   13    notes, Your Honor.

   14                 Just like he tried to help the government in these

   15    other cases, he laboriously made notes.         They either lost or

   16    discarded his notes at the NIDC.       I'm not blaming Mr. Stern

   17    for that, but it was a huge problem in our preparation.           Who

   18    can forget the -- getting the software in the MDC computer to

   19    work litigation?

   20                 THE COURT:    Oh, I Couldn't.

   21                 MR. KATZ:    They wouldn't play.    And that's why I

   22    know to a certainty, Your Honor, that any defense attorney

  23     who says that they played the tapes with their client at the

  24     NIDC cannot be getting it right because they wouldn't play.

  25     And then finally, after Your Honor issued the show cause,



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    1     they sent a tech down to put the right kind of software in,

    2     and that's when they began to play.

    3                And then there was this problem, and it goes to how

    4     much 5K1s he ought to get, Your Honor, and it also going to

    5     the timing thing.     He could not plead guilty even once we

    6     found the peppers and tomatoes tape unless his brother did.

    7     And here's the reality of that.       Mr. Stern knew that Abdallah

    8     Ayyeh was going to go to trial.       Obviously, his main focus

    9     once he had a plea from Mr. Khalil Mohammed would be, okay,

   10     you came along like the calvary because I need you against

   11     your brother.    Tell me about all your brother's crimes.         We

   ~~~    couldn't get into that situation.       And so therefore, as a

   13     practical matter, his brother had to plead guilty along with

   14     him.

   15                And his brother was balking and balking and

   16    balking, and finally, he got him around.         He came in, he

   17    pleaded guilty, and it was certainly in his brother's best

   18    interest.    He caused that, but it delayed him.        He shouldn't

   19    be -- he shouldn't be harmed, Your Honor, with this 5K1 over

   20     this supposed running of time because of what he did that

   21    helped everybody, the Court, Mr. Stern and most of all,

   22    here's the irony, his brother.       Had his brother gone to

  23     trial, I believe his brother would have been found guilty,

  24     and his brother would be serving a lot more time than the 70

  25     months.



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    1                 Okay.   Another thing I wanted to, Your Honor, was

    2     also regarding forfeiture.       And that was important thing that

    3     Mr. Mohammed did, and I want the Court just to have a very

    4     brief sense of that.      Mr. Abdallah Ayyeh had a bunch of cars,

    5     a couple of cars and a bank account seized.         This wasn't

    6     money in a pillow.      This was cars, titled, registered

    7     properly.    This was, you know, money that was in a bank

    8     account and had been for a long time.

    9                 THE COURT:    I think he raised this at the time of

   10     his sentencing.

   11                 MR. KATZ:    Oh.   Okay.    I missed a lot of the

   12     sentencing, Your Honor, because of the time change so I'm

   13     sorry if I'm repeating something, but here's why it's

   14     important for this.

   15                 Mr. Abdallah Ayyeh brought a forfeiture action, and

   16     the family wanted me because I would know then know the whole

   17     case to represent Mr. Mohammed who was in jail on his

   18     criminal case and to represent Mr. Ayyeh on the forfeiture

   19     case.   Okay?   And I think the government raised some conflict

   20    issue, but either they didn't raise it about that or it was

   21    overruled with regard to that.          In any event, there was no

   22    problem with it.

   23                 As we got down toward the actual trial date,

   24    suddenly Mr. Stern runs in front of Judge Klausner and says,

   25    oh, my goodness or has the AUSA there run in front of Judge



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    1     Klausner with a declaration from him, oh, my goodness,

    2     there's this conflict.      Judge Klausner heard the whole thing,

    3     he heard from both clients, and he said, I don't see any

    4     conflict whatsoever, let's move forward.

    5                 At that point, we had an offer on the table,

    6     Your Honor, and my client was told, Mr. Mohammed was told by

    7     Mr. Stern, it's very important you tell the truth.          Don't

    8     stretch things to try to help your bother in the forfeiture

    9     case.    And he told that to Mr. Ayyeh's attorney, and he told

   10     that to me, and I think he told that to Mr. Mohammed to his

   11     face.

   12                And you know what?     Mr. Mohammed never did.      He

   13     said he was willing to take a lie detector test if he had to.

   14     He knew some stuff that helped his brother.         No, he couldn't

   15     help his brother win the case totally, but he knew some stuff

   16     that helped.    He was completely honest with the government.

   17     I mean, think of the pressure that he was under, but he was

   18     totally honest.    He was totally rehabilitated.       His brother

   19    started to see that there were more important things in life

   20     than whether he got a few dollars less or not.         And he came

   21    around to a settlement, and the case was settled.

   22                And I put the credit for that mainly on Mr.

   23    Mohammed who told his brother, look, let's go forward with

   24    our life, we both have families, we can make money in the

   25    future.    Let's not get into a trial situation and people are



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    1     testifying, and the government has a problem with that.

    2     Let's just resolve the case, and everybody tell the truth and

    3     resolve the case.      And so I give him credit for that, too.

    4     And it's really an extraordinary amount of cooperation, and

    5     it's worth more than 5 points, Your Honor.

    6                Would you like to hear from the argument, and then

    7     I'll make my Booker argument?

    8                MR. KATZ:     Okay.

    9                THE COURT:     Fine.    And I think probably pick up

   10     whatever point you want to pick up, and then maybe you should

   11     go to your Booker argument now because then Mr. Stern can

   12     address everything at once.

   13                MR. KATZ:    Okay.     That would be fine.

   14                THE COURT:    Okay, we're ready.

   15                MR. KATZ:    Okay.     Your Honor, I just neglected to

   16     mention two things with regard to the cooperation, one was

   17     Mohammad Azut.    Mr. Azut, A-z-u-t, was a fellow with a

   18     violent representation known as someone who would retaliate

   19    against witnesses.      Even so my client and Mr. Sanam were

   20    willing to testify against him.        And we had a meeting with

   21    Mr. Brunwin which was after one of the meetings about Musitef

   22    and Mohammad Hammad and so forth that we had with Mr. Stern.

   23                And my client told Mr. Brunwin in my presence that

  24     he would shoulder the risk, and that he would testify against

  25     Mr. Azut who was about to go to trial out in federal court in



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    1     Riverside.    They called Mr. Sanam to the stand as I

    2     understand it.    And then Mr. Brunwin said, you know, thank

    3     you, we appreciate it, but we just think we have enough.           And

    4     he apparently had a correct assessment because I think

    5     everyone was convicted there.

    6                The last thing, Your Honor -- and this is not going

    7     to be on the record where someone else could get it, is it,

    8     Your Honor?

    9                Your Honor, my client had a great deal of

   10     information and made this clear at the time that he was

   11     talking about Mohammad Hammad and about Musitef and all that,

   12     that he knows about people, he's heard through the grapevine

   13     or through his family about people who are still engaged in

   14     this business.    And some of them are major players of

   15     yesteryear who've never been prosecuted and who obviously are

   16    undeterred.     And if one cares deeply about this problem as

   17    the government says it does, this would be an area that one

   18    would expect them to really rally around.

   19                And this would be Mr. Amir Hammad who's sort of a

   20    legendary kind of guy who's like the fellow who jumped out of

   21    a plane in Oregon, committed this big crime and got away with

   22    it.   And my client had information about him which is not a

  23     happy place for him or his family to be in.          But he did, and

   24    he told the government that and also some of the major

  25     associates, Mr. Almeeke, and so forth of Amir Hammad, and my



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    1     client's really got no credit for it whatsoever.

    2                THE COURT:    Well, you know, there's a difference

    3     obviously between the cooperation you've given and the

    4     cooperation that you've volunteered to give it seems to me

    5     for purposes of fashioning a 5K1.       And I recognize that there

    6     may have been a lot of other cooperation that Mr. Mohammed

    7     would have given if the government had called upon it, but I

    8     don't think the government has to.

    9                Ghat I'm most concerned with and I think you've

   10     covered it is the cooperation he's given, and that your

   11     position is he's not receiving adequate credit for the

   12     cooperation that he's actually given.

   13                MR. KATZ:    I feel that very strongly, Your Honor,

   14     and I think the Court's heard what I had to say.

   15                THE COURT:    Yes.

   16                MR. KATZ:    But one of the things for a 5K1

   17     consideration is danger to his family.

   18                THE COURT:    Yes.   Of course.

   19                MR. KATZ:    And I think it's of record, I don't

   20     think there's any dispute from the government, that his

  21     family has been threatened.       His wife has been threatened.

  22     Raja who's here in court has received threatening calls.

  23     Mr. Ayyeh's father visited the NIDC and told Amjad that he and

  24     Mr. Mohammed were under threats from people back home in

  25     Jordan because they were informants.



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    1                 And as recently as Thursday when the government

    2     filed its opposition under seal, they emphasized that point

    3     again, of the fear of retaliation if those pleadings weren't

    4     filed under seal, and, of course, I have very much endorsed

    5     that and filed my pleadings under seal as well.

    6                 And then also, Your Honor, the so-called timeliness

    7     of the defendant's assistance is one of those factors which

    8     is why I dwell on it.

    9                 THE COURT:    No, I understand that.

   10                 MR. KATZ:    Again, Your Honor, I think it's very

   11     timely if for no other reason than he was able to do so much.

   12     To avoid three separate trials, there's no doubt about it,

   13     his brother, Musitef and Mohammad Hammad and helped really

   14     avoid two or three other trials.

   15                 Your Honor, turning to the -- the first thing I

   16    want to touch on briefly is we do have one request for a

   17    downward departure.       We only have one request for a downward

   18    departure.    Under the plea agreement, we agreed to only make

   19     this one request for downward departure so I don't want the

   20    Court to think anything that's raised under Booker quite

   21    properly is downward departure.        The downward departure would

   22    be his extraordinary family obligations.

  23                 And I know the Court has been around this issue

  24     probably before this case certainly with regard to Mufid Isa.

  25     Now, my understanding is that Mufid Isa had his case or the



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    ~~    government appealed or something, and the case was remanded I

    2     believe.    So the Court could more specifically --

    3                 THE COURT:    I did, and they then affirmed that

    4     ground.    Now, the --

    5                 MR. KATZ:    They did?    Okay.   I didn't know that had

    6     happened so thank you, Your Honor.

    7                 THE COURT:    That did happen.    But the fact of the

    8     matter is that aside -- or at least I believe they had.

    9     That's my recollection.

   10                MR. STERN:     I think what happened was that there

   11     was an interim period of time when Booker was being decided,

   ~~~    and I believe that the government withdraw its request to

   13     have it revisited by the Court of Appeals because the

   14    standards changed.

   15                THE COURT:     Okay.    That may well have been what

   16    happened.

   17                Be that as it may, I understand the extraordinary

   18    family obligations argument.        I will point out in that case,

  19     I think Mr. Isa still ended up with a sentence in the range

  20     of 90 plus months.

   21                MR. STERN:     108 months.

  22                 THE COURT:     108.    That was my recollection.

  23                 MR. KATZ:     Mufid Isa refused to testify.      My client

  24     is the difference between night and day, between Mufid Isa --

  25                 THE COURT:    Oh, I'm not suggesting that he



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    1     cooperated.    I understand the difference.

    2                 MR. KATZ:    Yeah.   My client is much more like

    3     Hamayel, Khahallah, Shabib who got 46 months.         He really is,

    4     Your Honor.

    5                You see, I'm at a bit of a disadvantage, and I

    6     don't want to make -- I hope this issue becomes moot.          Okay?

    7     And I understand the Court's concern in sealing pleadings and

    8     sealing hearings.     And I think the Court probably heard

    9     through the clerk or something that I tried to attend a

   10     couple of them, and I wasn't able to, and I thought about

   11     raising the issue.      And then I said to myself, you know what?

   12     I want Mr. Khalil Mohammed's sentencing to be sealed.          So it

   13     would not -- it would be hypocritical of me to make an issue

   14     of that, and so I didn't, Your Honor.

   15                But there is one problem for the lawyer who comes

   16     next, and that is it is a bit difficult to say, oh, well, I

   17     don't think Hamayel cooperated that much or Shabib or so

   18     forth.   Now, I know Shabib lured some friends of his in a

   19     minor player, and he ended up being arrested or something

   20     when he showed up with what was supposed to be like walking

   21    around money.

   22                Your Honor, my client avoided three trials of three

   23    separate people --

   24                THE COURT:    No, you've said that, and I have that

   25    written down.     I understand, Mr. Katz.



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    1                  MR. KATZ:   Your Honor, just -- and I'll spend

    2     1 minute on the extraordinary family circumstances.          And, you

    3     know, my wife sees this, and the first thing she says is,

    4     what do you mean he two families?       v~hat do you mean he has

    5     two wives?     Your Honor, he does, and he supported them.        And

    6     thank goodness.     And they love him, and they love the

    7     children, and they've these burdens through over 3-and-a-half

    8     years of his incarceration, and they're here now, the two

    9     families.

   10                  And I can't possibly know what Isa's situation is

   11     or some of the others, but I cannot believe, Your Honor, that

   12     anyone has the extraordinary family obligations that my

   13     client does.     He's got 12 or 13 dependents.      There are two

   14     women, one of whom was about to move into a shelter before

   15     she had to move into a relative's house for a while.          Then

   16     the kids were out of school.      The kids were doing great in

   17    school.    Then a lot of 'em had problems in school.         One or

   18     two of 'em has had psychological problems and maybe even more

   19     than that.

   20                  And Your Honor, all of that could abate.       All of

   21    that could stop, and it should stop, Your Honor, because he's

   22    served enough time.

  23                   Now, the Court will notice that what I asked for

   24    does not yield his release immediately.         There'd be a period

  25     in a halfway house.       If Your Honor gives his 57 months, he's



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    F~    got about 4 or 5 months to do in a halfway house.          I think

    2     that's appropriate.     It would combine the two things.       It

    3     would be some more punishment.       It would be an structured

    4     reentry into society and into normal life, but it would be an

    5     opportunity to work during the day and support his family.

    6                He's a capable person, Your Honor.        He's made a

    7     good living before anything having to do with boxes or cases

    8     or pseudoephedrine.     He's made money at gas stations.       He

    9     tried to do this water business that he's very interested in

   10     trying to bring, you know, water, sparkling -- I don't know,

   11     sparkling water or natural, you know, like Evian, whatever,

   ~y~    that kind of water in.

   13                THE COURT:    Right, I understand.

   14                MR. KATZ:    Your Honor, okay, so that I think covers

   15     the extraordinary family circumstances.

   16                Your Honor, let me just touch on the Booker because

   17    for the Booker, first of all, you consider the nature and

   18    circumstances of the offense.       Now, don't throw a book at me,

   19    but Your Honor, I'm replying on an Assistant U.S. Attorney

   20    named Mr. Powers.     I've met him.     He is a very cynical, sharp

   21    prosecutor.     And he recognized because it should be

   22    recognized that these are not cocaine and heroin cases.           Yes,

   23    they do harm to society.       I'm not saying that they don't.

   24    But what he said was --

  25                 THE COURT:    I think they're pretty serious.



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    1     They're --

    2                  MR. KATZ:    And I agree with you, Your Honor.      I

    3     agree with you, and that's why the sentences start out high,

    4     and that' why you have to cooperate and have unusual Booker

    5     factors --

    6                  THE COURT:   That's exactly right.

    7                 MR. KATZ -- to have them lower.       But Your Honor,

    8     this is not me saying this.      This is the Assistant U.S.

    9     Attorney in the Northern District in a related case.          Most of

   10     these gentlemen stumbled into the situation thinking what

   11     they were doing really wasn't that big of a deal.          After all,

   12     pseudoephedrine's a cold medicine.       You can go to buy it at a

   13     Walgreen's and take it to clear your nasal passages.

   14                 The problem is that once these guys figured out

   15     what the Mexicans were doing with it, most of the defendants

   16     admitted they figured out that out -- the figured out that

   17     the Mexicans were using it to make some sort of drug.          What

   18    sort of drug they probably didn't know, and I believe that.

   19                 Now, all I'm trying to tell you, Your Honor, is

   20     that when you look at the nature and circumstances of the

   21    offense, this is not someone who's started dealing marijuana

   22    when he was 17, and then he was into cocaine and then into

   23    the other.     This thing came along -- and absolutely, once

  24     people realized what was going on, they should of gotten out.

  25     They should of said, you know what?        I got kids myself.     Are



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    1     you kidding me?     If that's what this stuff is being used for?

    2     Other people's kids?     I get it, Your Honor.

    3                 But the point is that he did not start out to be a

    4     drug dealer.     He kind of got along with these people.       They

    5     were doing it.     They were making easy money.      And I can tell,

    6     Your Honor, because I fought these cases for clients.          I

    7     defended these cases.     The first case I had in federal court,

    8     the sentences were 6 months for each defendant in a halfway

    9     house.    That was a federal prosecution.      I then had a lot of

   10     state cases, Your Honor.      Nobody went to state prison.      Ever.

   11     I must have had over a dozen of these cases.         Nobody went to

   12     state prison ever.

   13                 I'm not saying that any of that makes it right.

   14     All that I'm saying is that for the nature and circumstances

   15     of the offense, when you're talking about does it have to be

   16     96 or 90 months, can you give the defendant some break here

   17     because of the nature and circumstances of the offense?            It's

   18     not cocaine.    It's not the finished methamphetamine.        It's

   19     not someone who got into it Day 1 knowing that it was an

   20    illegal drug.     It's someone who got into it like so many of

   21     them did as was described by the Assistant U.S. Attorney in

   22    Chicago.

   23                Your Honor, I just did want to touch on a couple of

  24     other things, and I want to try to move in a positive way and

  25     not get into any kind of snippishness.         And I made it very



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    1     clear that for this thing about how he was hurt by the press

    2     stories, that was not at Mr. Stern's doorstep.         I never laid

    3     the genesis of that on Mr. Stern's or anyone in this office's

    4     doorstep.

    5                 But the reality is that the DEA was irresponsible,

    6     and they were irresponsible in a way that hurt him.          And it

    7     should be taken into account because his kids were taunted,

    8     and they have been abused on account of that article.          Your

    9     daddy has something to do with the terrorists.         People saw

   10     those articles.     They appeared as a banner headline in the

   11     Riverside newspaper which is in every newsstand and on

   12     everybody's desk or whatever at school that the school

   13     teacher's looking at in Moreno Valley where all of his kids

   14     live.

   15                 And that's my point about it, Your Honor.        Not in

   16     the abstract.    Your Honor put an end to it, and we really

   17     appreciated that.     I didn't know where that thing was going.

   18     And I was getting flack from people why are you

   19     representing -- you're representing terrorists?         V~hat the

   20    hell's wrong with you?      So I appreciate that.      But what I'm

   21     talking about now is not the abstract.        I'm talking about the

   22    specific harm that it did to him and his family which I think

   23    makes it a little bit different.        You don't have that in

   24    every case, and I think that's a factor that can be taken

   25    into account under Booker.



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    1                 Your Honor, in terms of adequate deterrence, you

    2     start with the premise that it was okay for huge dealers like

    3     Mr. Shabib, Mr. Hamayel, Mr. Khahallah to get 46 months.           If

    4     you take the premise that you have to in this case that

    5     Nabhan Isa who came in, lied, wasted the government's time,

    6     did the exact opposite of what Mr. Khalil Mohammed did which

    7     was just help them and help them and then help 'em some more

    8     and then think of ways to help them, Nabhan Isa got

    9     63 months, I think that's really kind of the framework to

   10     think about the deterrence in this case.

   11                 He never made bail.     Over 3-and-a-half years, he's

   12     been away from his family unable to help them, the wife going

   13     into a shelter or about to go into a shelter.         You've got all

   14     these privations, all that he suffered, and I'm going to talk

   15     about that in just one second very briefly, the privations

   16     he's suffered in state jail almost having his arm broken or

   17     wrist broken or whatever it was, being taunted racially and

   18     ethnically in the days after 09-11.

   19                 Nobody would look at the situation and say, you

   20    know what?    I would not be adequately deterred by a 57 or

   21    60-month sentence.      It would take a 90-month sentence, what

   22    the government's asking for, to adequately deter them given

   23    this whole universe of the 46-month sentences, the 63-month

   24    sentence for Nabhan Isa.

   25                Your Honor, there's no need to protect the public



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    1     from him or for him to get vocational training because he's a

    2     reformed person.     And I hope if anything comes through from

    3     the letters and from what he's done for the government, he's

    4     in touch with his religion and obeying the tenants of his

    5     religion.    He has been in a penitentiary type situation, and

    6     he has been penitent, and he has turned his life around.            And

    7     he's no danger to the community, and it would be a great help

    8     to the community if he could get out and support his family.

    9                 And Your Honor, the last thing I want to mention is

   10     there are those guidelines cases, I'm not asking for them

   11     under the guidelines, but they're are those cases where they

   ~y~    talk about how much harder the time is when you're in a state

   13     jail or you're solitary confinement, and there are cases

   14     where they've given like 2 to 1 credit.        I'm not asking for

   15     that as an inflexible or rule or anything like that like you

   16     see some of the cases.

   17                 All I'm saying is -- all I'm saying is in thinking

   18     about 57 months for him, there's the reality that he did this

   19     awful, awful time in state custody where he was really

   20     physically abused, mentally abused and also where he was

   21     harmed, and all these things have happened.         And so I think

   22    when you look at the totality of the circumstances,

   23    Your Honor, I think this is really a situation where the

   24    Court can feel comfortable.       I just -- I think it's fine.       I

  25     think that if he got 57 months, that would be fine.           That



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    1     would be 11 more months than the other people.

    2                And I want to say one last thing, Your Honor.

    3     Your Honor made the bail decision, and I'm not rearguing

    4     them.   I believe that in complete good faith, he would not

    5     have run away, that we could have fashioned the bail, but

    6     those are the calls, and we never appealed it.         I was sure

    7     the Court would be affirmed on its judgment call in that

    8     regard, and we came back to the Court a few times because we

    9     thought we had pertinent new facts.

   10                But had he gotten bail, here's the reality.         He

   11     could get a 70 or 80- month sentence.        He would show up at

   12     the institution.    He'd be put into the drug and alcohol

   13     program.   And the Court knows he was drinking a lot during

   14     this time and certainly had a alcohol problem.         He'd be put

   15     into the alcohol program, and he'd have a year shaved off.

   16     He's never gonna have that opportunity.        And that's only

   17     because he was denied bail in this case.        So I think that --

   18                Do you understand what I'm saying, Your Honor?

   19                THE COURT:    No, I don't because I -- can't I

   20    recommend that program in any event?

   21                MR. KATZ:    You can, Your Honor.     But let's assume

   22    that he gotten let's take a number, 70 months.          70 months, if

   23    he hadn't been out of custody, he'd go into custody, he'd

  24     sign up for the program, he'd be put in the program, he'd

   25    have time to complete it, and they'd shave 12 months off.



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    1                 THE COURT:    I understand that.

    2                 MR. KATZ:    The reality now is he won't get the

    3     12 months shaved off.      Now, of course, the Court could give

    4     him something like 90 months, and then, yeah, maybe he'd have

    5     the 12 months shaved off.

    6                 THE COURT:    That's the question I'm asking.

    7                 MR. KATZ:    But that's too high, Your Honor.

    8                 THE COURT:    Well, I know you say --

    9                 MR. KATZ:    It's just too high.

   10                 THE COURT:    -- it's too high, but I may disagree

   11     with you.    I don't know where I'm going to come out on this,

   12     but all I'm saying is there certainly is some scenario and

   13     some sentence where he would be eligible for that program.

   14     And so I'm just -- I just wasn't following you, Mr. Katz, but

   15     now I understand.

   16                 MR. KATZ:    I can just say this, Your Honor.      From

   17     the bottom of my heart, and I know we're not here to vouch,

   18     we're here to present legal arguments, 5 points is too few

   19     for what he did.    I was there, I saw it, I know the result of

   20    it.   And if the idea is to affect future conduct, the idea is

   21     to affect future conduct, this is way too small a break for

   22     the amount that he did and the amount that he risked.          Thank

   23     you, Your Honor.

   24                 THE COURT:   All right.    Thank you.

   25                 Okay, Mr. Stern.



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    1                 MR. STERN:    Let me start initially by saying the

    2     defendant once he decided to plead was very helpful.          As

    3     Mr. Katz has pointed out, he provided a lot of information

    4     about Tony Musitef.      He provided a lot of information about

    5     Mohammad Abdallah Hammad.      We don't question that.      He is

    6     very bright.    He was very forthcoming.      He directed us to

    7     tapes.   He translated tapes.     He did all the things that he

    8     is asserting that he did in that regard, and that's why we're

    9     recommending 5 levels off.

   10                Now, let me say this.      I believe that Mr. Katz has

   11     exaggerated other qualities or other aspects of the asserted

   12     cooperation by the defendant, and I think that his analysis

   13     is wrong in determining the recommendation that he's made for

   14     you.   So let me talk about some of that.

   15                One of the things that Mr. Katz has indicated is

   16     that the government essentially gave the other defendants

   17    more points off by not attributing to them and not

   18    negotiating a 2-point enhancement for being a supervisor or

   19    leader.    And I can tell the Court that we sat down when we

   20    began to go through this and tried to figure out who we could

   21     think of that these people were organizing or leading.          And

   22    it became very evident to us in our discussions based on the

   23    review of the evidence that Khalil Mohammed was the person

   24    that organized and leaded and managed the most number of

   25    people.



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    ~■                For instance, defense counsel talked about Nidal

    2     Hamayel.    There's no question that Nidal Hamayel was heavily

    3    involved in pseudoephedrine trafficking.         He admitted as

    4     much, we have proof as much.      But when we tried to figure out

    5     who he was directing, who was working under him, we couldn't

    6     f igure anyone out in that regard.      We know that people buying

    7     f rom him because we saw codefendants like Alfonso Pelayo come

    8     and buy from him, but all of the tapes and even Alfonso

    9     Pelayo's own statement indicated that he wasn't work with

   10     Hamayel, but rather he was just buying from him.

   11                 We know who Nidal Hamayel was buying from because

   12     we were able to intercept wire tap conversations which showed

   13     that.   But even in speaking with those cooperators, they told

   14     us that they were not working with Nidal Hamayel.          So simply

   15    because we can show a connection between someone like Nidal

   16    Hamayel and other people doesn't mean that they were managing

  17     him.     And for that reason, we didn't negotiate and

  18      enhancement provisions in relation to them.         So defense

  19      counsel's argument that somehow we gave these people

   20    under-the-table reductions simply is not accurate and not

   21     supported by the record.

   22                Now, defense counsel said that I am trying to send

   23    a message to the defense bar and that's why I'm only

   24    recommending 5 levels as a reduction for the defendant.           The

   25     f act of the matter is as this Court knows defendants who come



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    1     in earlier are much more likely to provide substantial

    2     assistance and the nature of their substantial assistance can

    3     be much greater because they can create a domino effect and

    4     create many more pleas and provide us with the type of

    5     assistance that can't get without their cooperation.

    6                So when Nidal Hamayel came in as the first

    7     defendant, he broke ranks with all the other people who were

    8     holding together very tightly had decided not to cooperate

    9     with the government.     He identified voices on tapes that we

   10     were not able to identify.      He was able to go through many

   11     people that we've had a lot of question marks about and

   12     provide us with a lot of information that we didn't have.

   13     The first 3 or 4 or 5 people were able to do those types of

   14     things by virtue of the decision they made come to in early

   15     and essentially cut their losses help the government as much

   16     as they could.

   17                When a defendant like Khalil Mohammed comes in more

   18     than 2 years after the fact, much of the information he is

   19     providing we already knew by virtue of the fact that the

   20    people came before him that decided early on to plead guilty

   21    had already given it to us, had already explained to us what

   22    was going on in the tapes, had already explained to us the

   23    nature and role of the other people, had already allowed us

  24     to disclose their briefings which created a domino series of

  25     consecutive pleas that we were able to give them credit for.



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    1                 So the fact of the matter is that when defense

    2     counsel says that it's AUSA Stern that's trying to stop the

    3     defendant from getting more of a reduction because I don't

    4     want to do a lot of work and essentially, I'm lazy, and I'm

    5     trying to reward those other people who stopped me from

    6     having to do the work, that's not accurate.

    7                It's the early pleas that always or under most

    8     circumstances I should say give us the type of substantial

    9     assistance that makes it reasonable for us to come in and say

   10     out of 41 defendants, Nidal Hamayel and 3 to 4 defendants

   11     after him who came to the government broke ranks with the

   12     people that they were both family with and had been working

   13     illegally with should get the very substantial type of

   14     reduction that distinguishes them from people like Khalil

   15     Mohammed who came in 2 years later.       That's why they got the

   16     reduction, not because we're trying to send some odd or

   17    inappropriate message to the defense bar.

   18                All right.    Let's talk about the defendant's

   19    cooperation, if we may.      With respect to Tony Musitef, I have

   20    to believe that the defendant's cooperation had a lot to do

   21    with Musitef's decision to plead guilty.         Defendant provided

  22     us with a lot of information about the overarching conspiracy

  23     that he was involved with Musitef in because he was the

  24     person that had hired Musitef, he was able to explain to us

  25     with great nuance and detail what was going on in the



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    1     transactions that we had actually surveilled because we had

    2     picked them up on the wire tap.

    3                 Also, perhaps the most important thing that

    4     defendant provided was pointing out to us two wire tap calls

    5     that we had not been familiar with.        I'm sure we had

    6     identified the calls, but we didn't know the value of the

    7     calls and defendant pointed them out to us in which Musitef

    8     was talking about getting gallons of milk and asking the

    9     defendant for more gallons of milk because he had already

   10     sold the ones that he had.

   11                That the defendant was able to do was point out to

   ~y~    us that Musitef wasn't just working for him as a person

   13     selling pseudoephedrine or moving pseudoephedrine or storing

   14     it on his behalf, but rather Musitef had his own customers

   15     and that was very important to us.       And that is part of the

   16     reason that we're recommending a full 5 levels off.          And we

   17     were able to utilize that and go to Musitef and his attorney

   18     and point this material out to him and I think it had to have

   19    some impact on Musitef.

   20                Now, to the extent that defense counsel is trying

   21     to show a linear connection between the defendant's meeting

   22    with Musitef and the guilty plea, that actually is not so.

   23    Defendant met and offered to meet with Musitef and we

   24    certainly give him credit for that.        He did meet with Musitef

  25     and he told Musitef that he was going to testify against him.



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    1     Essentially, he was going to tell all that he knows.          But it

    2     was a long time after that before Musitef decided to plead.

    3                In fact, Musitef came to my office about 3 days

    4     before the actual trial date when we really thought we were

    5     going to trial.    And we sat down with Musitef and his

    6     attorney and we went through the videotapes that we had

    7     actually put together on compact disk that we were able to

    8     show him the snippets of and we played for him the telephone

    9     calls.   And we certainly told him that the defendant was

   10     going to be testifying against him.

   11                But I think that what happened was when he saw all

   12     of this presented to him in the form that we were going to be

   13     presenting it at trial, it was actually in the office that he

   14    and his attorney Mike Treman talked.        And then said we

   15    believe that you have a case that you're going to be able to

   16    succeed on.    We're going to plead guilty.       If the Court

   17    remembers, it was the very same day that we were meeting with

   18    Musitef that we then called the Court and asked for an

   19    accommodation and the Court did accommodate us and we came

   20    down and defendant Tony Musitef pled guilty.

   21                So undoubtedly, I think that the defendant had

  22     something to do with the assessment that he made about

  23     whether or not he was going to plead guilty, but the lineal

  24     progression between the defendant talking to Musitef and his

  25     guilty plea that defense counsel is trying to ask the Court



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    1     to memorialize in some type of bronze statue simply is not

    2     there.

    3                Now, with respect to Mohammad Abdallah Hammad,

    4     again, there is no question that defendant was very helpful

    5     with Mohammad Abdallah Hammad.       He provided us with the

    6     background, I mean the narrative essentially of what happened

    7     with him and Hammad.     And because he was supplying Hammad

    8     with large, hundreds and hundreds of cases of

    9     pseudoephedrine, he was able to tell us about what we already

   10     knew, but that's important.      We already knew this because we

   11     had agents who were conducting surveillance and we had many,

   12     many wire taps that showed the connection between the

   13     defendant and Hammad.

   14                Now, Hammad's attorney said that he spoke with

   15     Hammad and Hammad said it was the wire tap evidence that

   16     ultimately convinced him to plead guilty.        And I can tell the

   17     Court that before he plead guilty, again like with Mr.

   18    Musitef, we brought him into the office, we sat him down, we

   19    played him the recordings not only to him and his attorney at

   20     the time, but also to an attorney who was handling his

   21    immigration who was saying I think you should go to trial

   22    until she heard these recordings.        And it was then that

   23    Mr. Hammad decided that he may need to plead guilty because

  24     the evidence was very strong against him.

  25                 So I don't dispute, in fact, I absolutely concur



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    1     the defendant was very helpful with Mr. Hammad.          But again, I

    2     don't think there is that lineal progression that defense

    3     counsel is trying portray to the Court.        And I think Hammad

    4     would have plead guilty regardless of whether or not the

    5     defendant was cooperating based on the strength of the wire

    6     tap and his understanding of the wire tap.

    7                And defense counsel -- as a parenthetical comment,

    8     I should say this.     Defense counsel said I don't understand

    9     why the government wasn't talking immediately to Khalil

   10     Mohammed about Mohammad Abdallah Hammad.        The government

   11     essentially he is implying was negligent in not talking to

   12     him immediately about Mr. Hammad, and there's a reason that

   13     we didn't do that.

   14                Number 1, we had more than enough evidence to

   15     indict Mr. Hammad and Number 2, we were very concerned about

   16     the conflict of interest that existed because Mr. Katz had

   17     actually represented Mr. Hammad in a pseudoephedrine case in

   18    state court, and we were also receiving information that

   19     Mr. Katz was having ongoing contact with Mr. Hammad.

   20                So our concern was if we sat down and began asking

   21    him and his client about Mr. Hammad, it was going to be

   22    evident that we were eminently going to indict Mr. Hammad and

   23    that would get back to Mr. Hammad who would then flee and we

   24    would not be able to arrest him like Raof Isa or Mohammad

   25    Michel or other people we have a fugitives in this case.            And



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    ~■    that is why we were concerned about discussing this with the

    2     defendant early on.     Once we indicted Mr. Hammad and he was

    3     in custody, we then immediately contacted the defendant and

    4     asked him for information and he provided the information

    5     without hesitation.

    6                Now, defense counsel says that the defendant

    7     precipitated the plea with his brother Abdallah Ayyeh.           And I

    8     don't doubt that the defendant's decision to plead guilty had

    9     something to do with Abdallah Ayyeh's decision to plead

   10     guilty.   And frankly, also Amjad Ayeh his nephew's decision

   11     to plead guilty.

   12                But the fact of the matter is what happened was the

   13     three of them got together and we know this because we've

   14     talked to them and we talked to them in front of the other

   15     defendants at times.     The three of them got together and had

   16     made the decision that they were all going to plead guilty

   17     and all obtain the benefit.      And they knew of course they if

   18     they did that, they would each get credit for essentially

   19     creating a package set of pleas.

   20                If I remember correctly, and I didn't look at it

   21    before I came to court, but Abdallah Ayyeh I think said that

   22    he was also in part responsible for Khalil Mohammed's plea.

  23     But the fact of the matter is that they made the joint

  24     decision to plead guilty.       And again, I don't think that

  25     there's the lineal direction and the lineal push that defense



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    1     counsel claims.    I do believe that it was clear that if they

    2     all plead together as a group, then they felt they could

    3     plea, get the benefit of cooperation, and essentially not to

    4     have hurt each other because they would have all pled.

    5                Let me say this, though, that it is our position

    6     that the defendant was not truthful when he sat down with us

    7     and provided us with information about his brother that

    8     essentially he did the same thing that Nabhan Isa did which

    9     is minimize dramatically the role that his brother played.           I

   10     understand why defendants do that.       I'm not disputing that.

   11                But I think the Court should know that the

   12     defendant did not sit down and tell us those very things that

   13     we presented to the Court when were explaining to the Court

   14     what the evidence actually showed Abdallah Ayyeh's

   15     involvement was in this case.      So to the extent that defense

   16     counsel is trying to compare his client to Nabhan Isa, both

   17     of them lied to us we believe in essentially the same way in

   18     trying protect their brothers from future culpability.

   19                With respect to defense counsel's initial statement

   20    about the effect that the defendant had on Mohammad Alasoud's

   21    decision to plead guilty and now his revised statement, I can

   22    say clearly that the statement that he asserted to the Court

   23    in his motion papers is simply not true because we contacted

   24    defense counsel Glen Jonas who was the attorney for Mohammad

  25     Alasoud who said Khalil Mohammed had absolutely nothing to do



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    1     with Alasoud's plea.     There was no contact with him in the

    2     spring or summer of 2004.      The conversation that Mr. Katz is

    3     referring to simply never occurred.

    4                So the problem that exists is that essentially the

    5     defense counsel is going through virtually every plea and

    6     trying to figure out if there is any way for him to say that

    7     Khalil Mohammed had something to do with the plea and then

    8     simply asserting it whether or not it's true as has been

    9     proven by the fact that Alasoud and Khalil Mohammed were

   10     never together after that one day when they crossed paths in

   11     the Riverside jail.

   12                Now, again, we don't dispute the effect he had on

   13     Hammad and the effect that he undoubtedly had on Musitef, but

   14     I think it's not accurate to try and extend that out to say

   15     that he made Adnan Isa plead guilty and he made Ahmad Jaris

   16     plead guilty.

   17                For instance, Adnan Isa plead guilty, and I think

   18     he told the Court this when he pled guilty in an attempt to

   19     help out his brothers and justifiably so because Nabhan Isa

   20    dimed out his brother.      Initially, he tried to minimize his

   21    role, but ultimately he told us what Adnan Isa was involved

   22    in and we a slew of wire tap tapes with Adnan Isa talking

   23    about what was going on.       There was no indication during the

  24     course of Adnan Isa's own sentencing hearing that it was

   25    Khalil Mohammed that made him plead guilty and that's simply



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    1     not true.

    2                 With respect to Ahmad Jaris, defense counsel is

    3     right I did ask Ahamd Jaris' attorney to go back to him and

    4     ask him what type of pressure, if any, Khalil Mohammed had in

    5     his decision making process to plead guilty.         And the defense

    6     attorney left me a message and then I've spoke with her and

    7     she said Khalil Mohammed was very helpful to the defendant.

    8                 But the essence of what she told me was not that

    9     Khalil Mohammed prompted Ahmad Jaris to plead guilty, but

   10     that Ahmad Jaris was dissatisfied with his counsel at the

   11     time so he would ask Khalil Mohammed legal questions, would

   12     then go to Mr. Katz get the answers to the legal questions

   13     and pass them back to Ahmad Jaris.

   14                 These are vastly different things than encouraging

   15     someone to plead guilty.      And frankly, I have a bit of a

   16     concern that essentially Mr. Katz through his client was

   17     communicating with someone else's client, Ahmad Jaris, when,

   18     in fact, he should not have been passing on that type of

   19     legal information.

   20                 With respect to the 2-year delay, I think we should

   21     talk about that because defense counsel wants to convince the

   22     Court that there is essentially no difference between a

   23     defendant who challenges the government's case for 2 years,

   24    asserts consistently that he's not guilty of the charged

   25    offense, tells the government that he's going to go to trial,



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    1     demands that the government prepare for trial for a period of

    2     2 years, and then shortly before his trial ultimately decides

    3     to plead guilty versus someone who comes in 3 or 4 weeks

    4     after being charged with the very same offense, tells the

    5     government all along I'm guilty, you've got me, you've got

    6     the evidence on me, I want to do whatever I can to cooperate,

    7     let me identify voices on tapes, let me tell you a narrative

    8     about what was going on, let me fill in the blanks that you

    9     don't know about that I do know about, let me you allow you

   10     to disclose all of my cooperation so that other people can

   11     see that I'm cooperating against them.        There is a difference

   12     of vast magnitude.

   13                And it's not that the government is lazy and is

   14     unwilling to prosecute the defendant for the last 2 years.

   15     The defendant has an absolute right to contest the charges

   16     against him.    He has an absolute right to go to trial if

   17     wants, but he should recognize that if he contests the

   18     charges against him for 2 years and takes himself out of the

   19     running to provide very important information that he may

   20    have for 2 years that in the end when he finally comes to the

   21    government, he's not in the same situation to present the

   22     type of cooperation, the type of substantial assistance that

   23    got these defendants who got very large recommendations for

   24    reduced sentences the type of recommendations that they

   25    received.



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    1                 And frankly, as I've said before and I'll say it

    2     again, to equate someone who pleads 2 years after the fact on

    3     the eve of trial or a few weeks before trial or a month

    4     before trial with those people who came in 3 weeks after they

    5     were indicted is essentially to trivialize people who made

    6     the very difficult decision to break ranks with their family,

    7     with their friends, with their cohorts and help the

    8     government out very early on.       And that's something the Court

    9     should not do.

   10                 With respect to defense counsel's assertion that

   11     somehow he was incapable of pleading his client for the

   12     2 years that it took for him to plead his client or for the 2

   13     years it took for his client to plead guilty, again, that's

   14     not true.    As I pointed out in my brief, you don't need to

   15     listen to the 75th or 80th or 90th or 100th tape to recognize

   16     that the government has a strong case against your client.

   17    It wasn't necessary for Mr. Katz to listen to all 1500 or

   18    2,000 tapes to make the determination that we had good wire

   19     tap evidence.

   20                 And defense attorneys make these assessments all

   21    the time.    And what Mr. Katz is doing is strategically trying

  22     to come up with an excuse to explain away the fact that his

  23     client took more than 2 years to plead guilty and make the

  24     burden rest on his shoulders and say, Judge, I couldn't have

  25     plead my client until I listened to every single wire tap



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    1     recording and looked at the many, many interview statements

    2     that were ongoing for every single witness.         And the Court

    3     knows pragmatically that just is not the truth.

    4                And even if Mr. Katz is willing to shoulder the

    5     blame in an attempt to help his client out, the fact doesn't

    6     change that the defendant and Mr. Katz knew all along the

    7     nature of the case against them.       And if he had wanted to

    8     plead, he could have plead.      If he had made the decision

    9     rather than challenging the government's case as he's

   10     entitled to do, to come in early, we would be here under

   11     different circumstances.

   12                With respect to the software concern, I don't know

   13     how in the end the Court perceived this, but it became

   14     evident I believe that there was no problem with the

   15     defendant's listening to the tape-recordings.         All of the

   16    other defendants did that.       In fact, most of them had little,

   17    mini CD players.

   18                THE COURT:    I don't think you have to argue that.

   19    I mean, I understand.      I realize, and it's not an affront to

   20    Mr. Katz, obviously there were some things incorrect in the

   21    way that he was operating the equipment or in his specific

   22    tapes, there was a problem.       But I'm not going to buy into

   23    his view that no other defense lawyer listened to things, and

  24     I know what we went through to make it possible for him to

   25    listen to them.     And I did that in an effort to get this case



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    1     ready for trial.     Mr. Katz, once he had the equipment he

    2     needed was able to download and review the tapes.          But I just

    3     don't think that that's a significant factor that cuts one

    4     way or the other in my decision.

    5                MR. STERN:    Very good.

    6                Mr. Katz talked about the threats that were

    7     suffered by the defendant.      If the defendant was abused by

    8     his jailers, I'm going to suggest that he contact OPR or

    9     contact the head of the Bureau of Prisons or NIDC to report

   10     the particular abuses, the dates of the abuses, the medical

   11     damage that was done during the course of the abuse and the

   12     identity of the abusers.      Because if that took place, then

   13     the fact of the matter is it shouldn't have taken place, and

   14     there should be some type of repercussion for those who did

   15     it.

   16                The problem is that these vague assertions of

   17     threats and abuse by the jailers at NIDC and the outlying

   18     jails never came in a specific way from defense counsel.           And

   19     essentially, what the defendant is trying to do is negotiate

   20     his way into the role of the victim, and Mr. Khalil Mohammed

   21    is not a victim here.      He's trying to tell the Court through

   22    his counsel that he really didn't know that he was involved

   23    with illegal substances to begin because they were

   24    decongestants, that once he learned this, he should have

  25     stopped but really didn't.



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    1                 THE COURT:   I'm really not very persuaded by that

    2     argument.    I don't think you have to address it.

    3     Mr. Mohammed was involved in the distribution of many cases

    4     of pseudoephedrine and has many people reporting to him, and

    5     it was obviously lucrative.      And I don't buy into the view

    6     that he somehow didn't know what he was doing or that it was

    7     serious.

    8                 MR. STERN:   And let me say this.      That is so

    9     clearly disputed by the fact that in February of 2001, the

   10     defendant had the thousand cases of pseudoephedrine that he

   11     was bringing in that were seized.       There were all sorts of

   12     calls the defendant was making to police, you know,

   13     threatening people to determine whether or not they had

   14     actually been seized.

   15                 There could have been no doubt in anyone's mind

   16     with the smallest modicum of intelligence what he doing, let

   17     alone the defendant who is obviously a very bright man, but

   18     it didn't stop him from a couple of months later in April of

   19     2001 to bring in another thousand cases of pseudoephedrine

   20     which would have made hundreds and hundreds and hundreds of

   21    pounds of methamphetamine.

   22                 And to the extent that defense counsel seems to be

   23     trying to convince the Court that heroin is a bad drug,

   24    cocaine is a bad drug, but methamphetamine is really not so

   25    bad, that absolutely is not true.        This Court heard testimony



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    1     about horribly damaging effects of methamphetamine on people

    2     who utilize it.

    3                THE COURT:    I see supervised releasees in here all

    4     the time who have meth problems, and it is a serious, serious

    5     problem, and it is certainly in my judgment just as serious

    6     as cocaine or heroin.     And it seems that once people start

    7     using methamphetamine, they have a much more difficult time

    8     stopping it so I'm not very persuaded that somehow

    9     methamphetamine is a different sort of drug.

   10                MR. STERN:    Very well.    Then I won't spend any more

   11     time on that.

   12                With respect to defense counsel's comparison

   13     between this defendant and the other defendants who got

   14     particular sentences, let me talk about that for a moment.

   15     Defense counsel is right, Nabhan Isa received 63 months, but

   16     what defense counsel didn't point out was that even before he

   17    was arrested, Nabhan Isa had approached the DEA and

   18    cooperated with the DEA.

   19                And based on the affidavit that was supplied by

   20    defense counsel for Nabhan Isa had actually assisted directly

   21    in the seizure of a thousand cases of pseudoephedrine, that's

   22    a big deal.     In large part that's why the government made a

   23    recommendation and frankly, I think our recommendation was

  24     either 70 or 78 months.

   25                THE COURT:    It was, and I went down below the



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    1     level.

    2                MR. STERN:    That's correct.     But the reason that we

    3     were willing to recommend that type of recommendation is

    4     because of Nabhan Isa, we were able to take a thousand cases,

    5     4,000 pounds of pseudoephedrine off the street and but for

    6     his cooperation, the affidavit from the agent in Chicago said

    7     we probably would never have actually seized.         That's huge.

    8                And that's distinguishable from the type of

    9     cooperation that the defendant provided.        I don't want to

   10     minimize the type of cooperation the defendant provided

   11     because it was helpful.      That's why I'm here asking you to

   12     reduce his sentence by 5 levels.       But there needs to be a

   13     distinction between someone who allows us to seize 4,000

   14     pounds of pseudoephedrine and someone who doesn't.

   15                And the other thing is that for all the criticisms

   16     that we've had of Nabhan Isa because he minimized his

   17     brother's involvement, the defendant is in the same situation

   18     exactly because he minimized his brother's involvement.          So

   19     to that extent, they're essentially a wash.         And then what

   20     you're left with is Nabhan Isa giving us information which

   21    led probably at least in part to the guilty plea of several

   22    other people including his brothers who were hanging tough in

  23     deciding not to plead guilty and also to the seizure of a

   24    thousand cases.

   25                And perhaps most importantly, Nabhan Isa came in



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    1     very, very early which gave him the opportunity by his own

    2     decision to provide a lot of information very early on that

    3     we didn't have that allowed us to then turn that information

    4     over to other people as I discussed before.         And again, I

    5     think we need to make a distinction in the timing when

    6     someone comes in and pleads guilty because that dramatically

    7     effects the type of cooperation that they can provide, and it

    8     did exactly that here.

    9                  Mufid Isa.    Mufid Isa received 108 months for no

   10     cooperation.    Mufid Isa came in much earlier than the

   11     defendant.    Adnan Isa did not cooperate and he received

   12     120 months.    And, you know, I don't remember the exact time,

   13     I think he came in right around the same time as the

   14     defendant, but there is a distinction between these people

   15     that needs to be made.       And it's not appropriate for defense

   16     counsel to say Nabhan Isa got 63 months.        My guy should get

   17     the same thing because Nabhan Isa got 63 months.

   18                Defense counsel talked about Rahif Sanam.         Rahif

   19    Sanam actually was threatened, directly threatened.           We were

   20    able to document that.        And the fact of the matter is that

   21    Rahif Sanam came in much earlier than the defendant, Number

   22    1, Number 2 was a much smaller player than the defendant.

  23                 In fact, the tapes show that the defendant was

  24     selling pseudoephedrine to Rahif Sanam in amounts like

  25     40 cases at a time.        In fact, we had the defendant



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    1     negotiation to sell Rahif Sanam 40 cases.         So the purchase of

    2     40 cases is vastly different then the thousands of cases that

    3     the defendant was involved in.

    4                  And also, and this cannot be ignored, Rahif Sanam

    5     actually took the stand and publically testified against

    6     several people in a Riverside trial, and those people had

    7     actually pulled a gun and put it to the head of a government

    8     informant during the course of an undercover deal.          So to the

    9     extent that the Court is trying to figure out whether or not

   10     the threat that Rahif Sanam was under or the threat that he

   11     perceived he would be under was real and concrete, it's very

   12     clear.   These were people that actually almost killed a

   13     government informant during the course of an undercover deal,

   14     and Rahif Sanam took the stand and publically testified

   15     against them.

   16                  There's something to be said for that, and there's

   17     a lot to be said for that which we did say.         We weren't even

   18     asking for the 46 months that he got, but the Court I think

   19     thought that was so impressive and so above and beyond the

   20     type of things people typically do that it gave Rahif Sanam

   21     46 months.    But it isn't appropriate to talk about Rahif

   22    Sanam's cooperation in the same breath as Khalil Mohammed's

   23     cooperation because they're vastly different types of

   24    cooperation.

   25                  With respect to the extraordinary family



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    1     circumstances, against our objection, this Court downwardly

    2     departed for Adnan Isa and for Mufid Isa based on

    3     extraordinary family circumstances.        And if I remember

    4     correctly, what was driving that decision was the Court's

    5     recognition that the government had essentially indicted all

    6     of the money earning male workers.

    7                 THE COURT:   That is exactly right.

    8                 MR. STERN:   That Mufid Isa was indicted, that Adnan

    9     Isa was indicted, that Nabhan Isa was indicted and even Raof

   10     Isa was indicted and in custody awaiting extradition in

   11     Israel, and I think that that's really what was driving the

   12     Court's decision.

   13                 THE COURT:   I think I made it very clear when I

   14     wrote the statement of reasons after the fact, and it was

   15     that all of the brothers were facing long terms of

   16     incarceration, and that there were children in multiple

   17     families being affected.      It's not a situation -- and I don't

   18     want to -- obviously, it is Mr. Mohammed's right to have two

   19    families, but, I mean, it is of his creation.          It's not the

   20    situation that I was confronted with in the Isa case.

   21                 MR. STERN:   Thank you.    And that's what I think

   22    distinguishes the circumstances of the Isa family from the

   23    defendant.

   24                 Now, in wrapping this up, let me say this.        I know,

   25    and the Court knows because every defense attorney, every



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    1     suggestion that we have made for downward departure, the

    2     defense attorney has come in and said the government is not

    3     giving me as much as I should get.

    4                THE COURT:    It always happens.

    5                MR. STERN:    That's the way of our system.       The

    6     defense attorneys want one thing, the prosecution wants

    7     something else.     But to the extent that we really are the

    8     people who are I think best in the circumstance of trying to

    9     compare 41 defendants and create some measure of comity and

   10     comparative assessment both in the nature of the offense the

   11     defendant was involved in, when they pled guilty and the type

   12     of cooperation and how much value they offered to us.          We

   13     looked very carefully at Khalil Mohammed's recommendation.

   14     And it was the subject of a lot of discussion within my

   15     office.

   16                And while as I said before, Khalil Mohammed was

   17     very forthcoming about certain issues when he decided to come

   18     in, he didn't -- he wasn't able to give us the type of

   19     cooperation that would have justified a greater

   20     recommendation.    If, for instance, he had come in earlier, he

   21     would have been able to tell us about Isa Atrash, and he

   22    would have been able to tell us about Khaled Ahmad, two

   23    people who actually told us about him.

   24                But the fact of the matter is that people need to

  25     be held responsible for the choices that they made.           And if



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    1     they decide that they don't want to plead guilty, while it is

    2     their right, there needs to be some distinction that's

    3     created between them and people like Khaled Ahmad and Isa

    4     Atrash.

    5                 His family members who came in very early on and

    6     provided us with a lot of information that in our papers for

    7     them which will be forthcoming, we're going to tell the Court

    8     probably precipitated in large part his decision to plead

    9     guilty or certainly in substantial part precipitated his

   10     decision to plead guilty.      And the fact that he decided not

   11     to do that needs to distinguish him from those people who

   12     did.

   13                 So when we're trying to come up with an actual

   14     recommendation for a sentence, what we did was we looked at

   15     what the defendant would get if he received three levels off

   16     for acceptance of responsibility and if we agreed and

   17     acknowledged that he should get two levels off for the safety

   18     valve.    And his calculation under those circumstances are a

   19     guideline range of 168 to 210 months.        So when we recommend

   20     97 months as a departure from 168 to 210 months, it's a lot

   21     of time off.

   22                 And I know that defense counsel seems to be trying

   23     to convince the Court that it's somehow trivial or somehow a

   24    speck on a very large wall of recommendations for much higher

   25    sentences, but that's almost 6 years as a departure, and we



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    1     think it's reasonable.      And that's what we're asking the

    2     Court to do.

    3                THE COURT:    All right.

    4                Mr. Katz, I know you want to reply.        Let me tell

    5     you what I do think at this stage because I don't want you to

    6     argue idly.

    7                First of all, I have no doubt no matter what you

    8     say that Mr. Mohammed was resistant to pleading guilty at the

    9     beginning part of the case.      I remember well what went on at

   10     NIDC, what went on at Kern and the difficulties.        I am firmly

   11     convinced that some of the other defendants who cooperated

   12     earlier, in fact, had more information to give simply because

   13     they came in when the government had less information.          I'm

   14     not holding it against your client, but the fact of the

   15    matter is in my judgment his cooperation came later and that

   16    is in my mind a factor that's going to guide me here.

   17                Secondly, I have made the statement I've made about

   18    family circumstances.      I have no doubt that Mr. Mohammed once

   19    he started cooperating was very helpful.         I also have in mind

   20    the fact that he had a significant role in this transaction.

  21     I'm not saying the most significant, but certainly a

  22     significant role, and that impacts my thinking for purposes

  23     of a further downward departure.

  24                 Because what has happened here with many of the

  25     other defendants you have recommended, the government has



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    1     come in and recommended a 5 or a 6-level downward departure

    2     based on the cooperation.      But then based on the relative

    3     role of the person in the conspiracy, based upon the factors

    4     enumerated in Section 3553, they have said at least in some

    5     cases to have a sentence proportional for this defendant in

    6     relationship to other sentences I fashioned, we wouldn't

    7     object if you went down 3 or 4 more levels.

    8                So to begin with, the 5 is really not out of line

    9     with the 5K1s that have been given.       On the other hand, I

   10     could see going down a sixth level.       I can't see going down

   11     beyond that very frankly, and that's where I am.          I think

   12     that 97 months may be too close in terms of sentencing to

   13     Mufid Isa, for example, who did not cooperate or his other

   14     brother who did not cooperate.       I do think he's different

   15     from Adnan Isa, and I don't want to suggest that they are the

   16    same.

   17                As far as the question of whether the government

   18    singled out for the plus 2 enhancement, I mean, I think it

   19    was based on -- from what I understand about this case in

   20    roles and everything else, the plus 2 was not an unreasonable

   21    request.    It is part of the plea agreement.        In other words,

   22    if I'm going to say I disregard the probation officer's

   23    recommendation of a plus 3 because the plea agreement said

  24     plus 2, then I've got to stick by the plea agreement for

   25    other purposes.



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    1                  So what I am prepared to tell you, this a tentative

    2     ruling right now so you know what to argue about, is that

    3     from what I have heard, the most I would go down is another

    4

    5

    6                  MR. KATZ:   Your Honor, first of all, thank you very

    7     much for giving me the target to aim at instead of flailing

    8     around.   Your Honor, I have a couple of thoughts on that.

    9                  First of all, I would really endorse the Court

   10     going a few points lower than that and I just read you

   11     something.    The government submitted a pleading with regard

   12     to Mr. Hamayel.    At that point -- this is the government

   13     saying this not me.

   14                  In this case, the Court has sentenced codefendants

   15

   16     suggested by the guidelines and by the government's

   17     recommendations including defendants who have offered no

   18     cooperation at all, challenged the government's case through

   19    lengthy motion practice and pled guilty late in the process.

   20                The problem created by this circumstance is that it

   21    serves to preclude the government from recommending sentences

   22     that it believes are fair and reasonable based upon the

   23    comparable analysis between individual defendants and the

   24    larger group of more than 40 defendants on such factors as

   25    the individual defendant's involvement in the charged crimes,



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    1     the timing of the guilty plea and the cooperation provided.

    2                Because the Court has departed from the guideline

    3     range and the government's recommendation in virtually every

    4     sentence that has come before to date, we now find ourselves

    5     in the position of having to recommend substantially lower

    6     sentences then we believe are appropriate in order to ensure

    7     the defendants who pled guilty, et cetera, et cetera.

    8                Then they say such is the case with defendant Nidal

    9     Hamayel.   Now, the reason that I point that up, Your Honor,

   10     is that's not me saying it that the Court granted a lower

   11     sentence to people who hadn't cooperated at all, who

   12     challenged the government's case through lengthy motion

   13     practice, et cetera, et cetera.       Then if you'll notice,

   14     Your Honor, in the thing they filed Thursday, they said no.

   15     Now, after having deviated and asked for lower sentences then

   16     we think appropriate for Hamayel, Khahallah, and Shabib all

   17     of a sudden now with Mr. Khalil Mohammed's case, they change

   18     course.

   19                THE COURT:    No, they changed course last week in

   20     the another sentencing.     They abandoned that position earlier

   21    on, but what I'm saying to you is even if that position were

   22    still in place, I would not find a basis for going down a

   23    couple more levels.

  24                 MR. KATZ:    Your Honor, I wasn't present for that

   25    sentence, but I do think that from this entire record, the



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    1     tone of the argument but especially the really improper

    2     scathing, ad hominum tone of the Thursday sentencing

    3     memorandum which was meant to be an ambush, Your Honor, there

    4     is a real question, and I think that the Court should

    5     consider this in going a couple points lower, there is a real

    6     question here as there is not in almost any case one can

    7     imagine in the federal courts of the problem Mr. Stern feels

    8     toward me which he could not have been more caustic about

    9     affecting my client.      And I think that has to be seen in

   10     context.    And you have to take this all with a really big

   11     grain of, what is it, salt?

   12                 THE COURT:    Grain of salt.    And I am taking it with

   13     a grain of salt.

   14                 MR. KATZ:    V~hat the government is saying --

   15                 THE COURT:    Think about what you are saying.      I

   16    mean, you are suggesting that Mr. Stern and all the people in

   17    his office somehow are going to penalize Mr. Mohammed because

   18    they have it in for, you and I'm not prepared to buy that,

   19    Mr. Katz.

   20                 MR. KATZ:    Certainly his office doesn't have it in

   21    for me.     I'm saying Mr. Stern seems to in this case.        And I

   22    tell you, Your Honor, nobody could read that pleading from

   23    Thursday and not conclude it is one of the most extraordinary

  24     ad hominum attacks filed in the federal courts by an

  25     Assistance United States Attorney.        It gives pause.     It gives



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    1     doubt I would suggest to you.       And he says, well, his office

    2     made this determination, but there's nothing from his office

    3     as to who made this determination.       There's just his say-so

    4     with regard to that as well.       So I tried to focus myself here

    5     as much as I can on what are the facts of what happened in

    6     this case.    The facts of what happened --

    7                  THE COURT:    That's what I'm looking at.     I have a

    8     probation officer who was mighty unhappy with you if you will

    9     recall, and you came back and said you didn't intend to be

   10     strident.    I read what Mr. Stern filed.      I don't feel about

   11     it as you did.    I know that the two of you have had a

   12     difficult relationship, but I expect and believe that both of

   13     you live up to your responsibilities as officers of the court

   14     and put that aside.       I think Mr. Stern has, and I think you

   15     have.

   16                 MR. KATZ:     Well, this officer of the court has

   17     never made that sort of ad hominum attack.        I have talked

   18     about government conduct in certain cases, and normally, when

   19    I have talked about it, the Court's agreed.          I thought it was

   20    improper government conduct whoever caused it that my client

  21     was out in San Bernardino, and then he was out in Kern

  22     County, and Your Honor cured it both times.         I thought it was

  23     improper government conduct that they were these articles in

  24     the newspapers, and the Court made comments that put an end

  25     to it.    And on and on again I could go where I made comments



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    ~~    about conduct.

    2                 But there is at least a question and I think a

    3     strong one here about a personal animus toward me by the

    4     individual prosecutor which is overlapping on my client.

    5     That is why, Your Honor, I think it is so important to focus

    6     on the facts because when the government says, oh, well, I

    7     have a feeling, and the government has a better view, I would

    8     give you that in a lot of cases, Your Honor, but I think that

    9     it's somewhat tainted here.      I really do.

   10                THE COURT:    Well, you're entitled to your opinion.

   11     I just disagree.

   12                MR. KATZ:    Now, Mr. Stern in his argument just now,

   13     Your Honor, he knocked out a whole lot of straw men.          So let

   14     me just make sure that I have presented the thing clearly.

   15                First of all, Your Honor, all I did was quote an

   16     Assistant U.S. Attorney in the related case.         That's all I

   17     did.   And I said that in terms of when he first got into and

   18    I think that says something different a tiny amount for

   19    Booker.    It says a difference when you talk about the nature

   20    of the offender.     It says a little bit different about the

   21    offender then someone who gets into meth or gets into cocaine

   22    and how he got into it.      And all I said is that he was like

   23    the people, the Assistant U.S. Attorney in Chicago was

  24     talking about when he talked about that.         That's all I was

  25     saying.



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    1                 THE COURT:    I understand, and that's one AUSA's

    2     opinion.

    3                MR. KATZ:     Now, with regard to supervising,

    4     Your Honor, I have gone through the indictment and I have

    5     gone through the plea agreements and in each of them they

    6     explain, for instance, Adnan Isa was supervised by Nabhan

    7     Isa.   It's not me saying so.     It's the indictment and it's in

    8     his own plea agreement.      And in the plea agreements,

    9     Your Honor, it's spelled out that Hamayel supervised people.

   10     Mr. Stern would have you believe that if he went through this

   11     record and tried to figure out who was supervising whom and

   12     only Mr. Mohammed could be found supervising anybody and that

   13     is not true.

   14                And Your Honor, if they wanted to know about who

   15     was supervising whom, they could have asked Mr. Khalil

   16     Mohammed that question.     He would have been happy to tell

   17     them about what some of those other folks like Khahallah were

   18    doing that he knew about it.       Your Honor, it's quoted in the

   19    papers exactly who they were supervising and they were

   20    supervising people.

  21                 So what's my point?     My point is not to step back

  22     from the 2 points that we agreed on.        It was obvious that

  23     since you only have to supervise one person, there would be

  24     about ten or a dozen people in this case who would get hit

  25     with a plus two.     I thought it was obvious from my other



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    1     cases that my client would get hit with plus two.          The

    2     anomaly here, Your Honor, is that nobody but Mr. Khalil

    3     Mohammed got hit with a plus two.       That's an anomaly in this

    4     case where the plea agreements and the indictment specify who

    5     the other people were supervising.

    6                And so what I am saying to you, Your Honor?            I'm

    7     saying that is a plus 2 downward departure.         That is really

    8     part of a 5K1 because it cannot be squared with the record,

    9     and the indictment and their own plea agreements that they

   10     didn't get hit for plus two just like my client.          So it

   11     couldn't have been anything else other than an additional

   12     plus two in reality for the early cooperation.

   13                Now, in terms of -- I just want to talk a little

   14     bit about this domino effect.      Different people can come at

   15     different times in the case create different domino effects.

   16     There's nothing in the record that shows what domino fell on

   17     account of what domino with regard to Hamayel, Khahallah,

   18     Shabib except maybe this one fellow that was brought in and

   19     the comment he made about Hamayel.

   20                My client can show you a domino effect.         If there

   21    is some utility, Your Honor, and you want the defense bar to

   22    know it, if there is some utility to saving a lot of trials

   23    for the court and the government, this is the time to give

   24    more than 6 points off, Your Honor.

  25                 They say Mr. Nabhan Isa told the government about




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    1     one load.    First of all, he didn't tell that out of some

    2     altruism.    The government must think I don't know that.         He

    3     said that because he wanted to get his competitor busted and

    4     gain a business advantage of it.       So he didn't tell it from a

    5     good point of view.      It wasn't indicative of him getting out

    6     of crime.

    7                 And I would submit this to you, Your Honor.

    8     Catching one load -- the DEA catches thousands and thousands

    9     of loads.    Catching one load is not as great a public good as

   10     saving three separate federal trials that would have happened

   11     in this courtroom that the government would have had to

   12     expend its resources on and that one of our district court

   13     judges would have had to spend her resources on.

   14                 And Your Honor, I don't know, but we don't have to

   15     show a linear thing.     They somehow have this test now, this

   16     other straw man, some linear thing.       There was a cause and

   17     effect here that the Court should recognize in saving the

   18     Musitef trial.

   19                 THE COURT:   I am recognizing it.     I am not

   20    suggesting that there wasn't a relationship.          All I am saying

   21    is that saving the Musitef trial, while important, may not be

   22    of the same importance as some of the persons who came in and

   23    cooperated much earlier.       I'm not trying to send a message to

   24    any lawyer because I think everyone has the right to defend a

  25     case.    But when you get to cooperation and this is always the



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    1     difficulty, you have a back and forth between the lawyers

    2     regarding who cooperated more or less.

    3                  MR. KATZ:    Well, Your Honor -- did I cut you off?

    4     I'm sorry.

    5                  THE COURT:    No.    What I'm saying is I realize the

    6     government thinks it has the best notion of whose cooperation

    7     was the most important.       They always come in and say that,

    8     and they get upset when I do something different than what

    9     they suggest.    Having said that, I have seen enough of this

   10     case, Mr. Katz, so that I have some sense, and I have my

   11     views also regarding what made a difference in terms of

   12     people pleading guilty.

   13                And I believe that Mr. Shabib and some of the

   14     people who pled very early on had a greater effect on

   15     bringing more defendants in, and I'm not taking anything away

   16     from Mr. Mohammed.       It seems no one disputes that he had a

   17     big effect on Mr. Musitef and others.         The three trials

   18     you're talking about are very important, but I think some of

   19     the others saved me probably a 12 or 16 week trial.

   20                MR. KATZ:      Your Honor, he had a huge impact,

   21     though, also on Mohammad Hammad pleading guilty.         He had a

   22    huge impact on his brother, and I don't know why his brother

   23    keeps getting minimized.          It's so unfair, Your Honor.   He

   24    didn't lie about his brother.         He's not like Nabhan Isa.

   25    They wanted to give him a polygraph exam.          He said fine.



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    1     Your Honor, that is a make weight by this Assistant U.S.

    2     Attorney to try to get the Court to keep this sentence high

    3     rather than to bring it down a little bit where it belongs.

    4                He was absolutely material and Abdallah Ayyeh would

    5     have pled guilty and he would have gone and not pled guilty

    6     but for him.     The idea, Your Honor, that his nephew somehow

    7     convinced him to plead guilty, not the other way around makes

    8     no sense on the facts of this case or in terms of the culture

    9     or the family.

   10                He also brought a fourth person in Amjad Ayeh.

   11     That's four right there.      He did have an impact on Adnan Isa

   12     and did have an impact on Jaris.       I made a mistake about

   13     Alasoud.   I made a mistake in describing it.        He didn't talk

   14     face-to-face with him.     He said you can talk to Izat Khalil.

   15     He's the key to the case.

   16                Your Honor, I want to mention another point.         The

   17     government as I understand it, I don't know all their

   18     recommendations, but I know that they recommended 6 on

   19    Mr. Mohammed's brother.      Now, if that's not indicative of

   20    some animus toward his lawyer that's affecting him, they

   21    recommended 6 on his brother Abdallah Ayyeh.          I don't see one

   22    trial that he saved and yet they recommend less on my client.

  23                 If they recommend just the 6, they would be where

  24     Your Honor is.     If they give him one more point or the Court

   25    would give him one more point, then his brother got off, he



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    ~~    would be down to 7.      Is that asking so much where he saved

    2     four separate trials and his brother saved none to give him

    3     more points?

    4                  Let's talk about the extraordinary family

    5     situation.    I wasn't here at the Isa sentencing, but,

    6     Your Honor, that is this case.       There are two productive

    7     members of this family; Abdallah Ayyeh, his brother, who is

    8     going to be in jail for however long it's going to be now,

    9     he's got 70 months, and my client.       There's a third brother

   10     Ibrahim.    Ibrahim makes very little money, very little money.

   11     This is a family that's going through very strident times,

   12     Your Honor, because you do have the money-making members of

   13     the family in jail and both of them in jail together.

   14                 THE COURT:    That's true of every family in this

   15     CK:~Y~


   16                 MR. KATZ:    Well, I'm not so sure about that.       You

   17     take somebody like Hamayel.      I don't know his whole family

   18    situation, but it hits me that he was the only one in his

   19    family.     I think Shabib was the only one in his family.        The

   20    reason I mention this is there's two defendants who aren't

   21    around as I understand it.       Of the six who are indicted

   22    first, the top six, Hamayel is one of them.          No family.   I

  23     think Shabib is in that category.        No family.    And I think

  24     Khahallah is in that category.       No family.    So there are

  25     quite a few.



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    1                 And then you have this extraordinary situation.

    2     And Your Honor, whether my client had the children with one

    3     woman or with two, the reality is he's got I think it's 12.

    4     He's got 12 children.     11 of them are minors, and they are

    5     dependents, Your Honor.

    6                 Your Honor, I did want to address one more point

    7     about timing if I could.      They said that well, some people

    8     came in within 3 or 4 weeks, Your Honor.        And again, if

    9     there's anyone to blame for that, that's for me.          3 or

   10     4 weeks to try to digest a record like there was here was

   11     simply not realistic.     So to say, well, the government

   12     doesn't want to punish him, but they just don't want to give

   13     him more credit, that's certainly not something he could have

   14     done.

   15                 And a lot of people got arrested here in L.A., but

   16    he didn't.    He got arrested in Las Vegas.       So it's a month

   17    before he gets here, it's whatever it is, mid-February, and

   18    then he goes off to Kern County.        That's a reality.     By the

   19    time things start to settle down, the discovery is coming in,

  20     you deal with Copy Pro, and all of that it's May.          I started

  21     my intense pretrial preparation in the summer for that

  22     4-and-a-half month trial.       I was then down there until

  23     January 25th.

  24                 I mean, it was a real problem.       Mr. Mohammed wanted

  25     me.   I didn't know what to do.      I guess I could have tried to



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    1     get out of the case, but there I was.        And then I came back,

    2     and I tried three more trials that year in federal court.

    3     And our intense preparation -- and then he was out in San

    4     Bernardino, and there was the problem with the computers.

    5     There was the separation order.       Your Honor, I'm here to tell

    6     you half the time I went down there, I couldn't see Mr.

    7     Mohammed.    I got turned away.     I only have so many

    8     opportunities that I could go down there.

    9                 But I think the key to it, Your Honor, is after he

   10     comes in, he gets his own domino effect.        And I don't know

   11     exactly what the numbers were, but it sure seemed that a lot

   12     of pleas happened right after he said he was going to plead

   13     guilty.   With all this that we hear, I believe that he was

   14     still maybe 8th, 9th, 10th in out of all these defendants.

   15                 THE COURT:   I don't think so.     I think he was a lot

   16     later than that.

   17                 MR. KATZ:    How many were ahead of him?

   18                 THE COURT:   I would have to do the count.

   19                 Mr. Stern I think will know the answer.

   20                 MR. STERN:   I'm sort of astounded that defense

   21     counsel is arguing that he was 8th or 9th or 10th in view of

   22     the fact that per the Court's request, we were turning over

   23    the plea agreements to defense counsel and putting them in

   24     the discovery so he could see exactly when people were

   25    pleading guilty and what the exact terms of their plea



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    1     agreements were.     Defendant was one of the last.       If we broke

    2     this into three parts, I believe defendant was one of the

    3     last people.

    4                 THE COURT:    I think he was in the last third, but I

    5     don't know.

    6                MR. KATZ:     At the very least, Your Honor, at the

    7     very least, he was in the middle third.        But the point that

    8     I'm trying to make is that after he says he's going to come

    9     in, that's when his brother comes in on account of him.

   10     That's when Amjad comes in, his nephew on account of him.

   11     That's when Adnan Isa, that's when Amjad Jaris, that's when a

   12     train of other people come in after that.         And that's the

   13     reality.

   14                THE COURT:     No, and you've made that point.      I

   15     understand.

   16                MR. KATZ:     And Mohammad Hammad and the information

   17     about Ehab and the forfeiture was still something that was

   18     out there on another judge's docket about 5 days away from

   19     trial when he convinced his brother to settle that case.           And

   20     all of these things, Your Honor, I think in terms of a

   21     message and every case sends a message.        The only case that

   22     ever existed that history ever knew about justice in our time

   23     was this case.    I don't think that we send the wrong message

   24    with giving him 7 or 8 points off instead of 5.          I don't

   25     think it's so bad.



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    1                 They say, well, I want them to be comparable to the

    2     people who they say came in first.       He wouldn't be

    3     comparable.    At 57 months, he would still get 11 more than

    4     them.    Your Honor said 87 months.     I don't know if the Court

    5     could at least be prepared to give him more of a break than

    6     his brother got for his cooperation.        I don't see how that

    7     can be squared.    I don't see how his brother can get

    8     6 points.    People who didn't cooperate very much or as the

    9     government said challenged the case got these big reductions.

   10     Hamayel, Shabib, Khahallah effectively got 2 more points for

   11     the role.    There are people getting 10, 12 points off.          My

   12     client can't get 7 or 8 points off?

   13                 And when you add on top of it the extraordinary

   14     family situation that he does have and the extraordinary

   15     rehabilitation, Your Honor has a chance to look at over

   16     3-and-a-half years of his life, I ask you, Your Honor, is

   17     this so wrong to say he lied about his brother?         It is so so

   18     wrong?   He did nothing but exemplary conduct for over

   19    3-and-a-half years.

   20                 And you got a chance to look at him and see what

   21    he's done, and he has changed his life around.          He has these

   22    people who are dependent on him, Your Honor.          This is an

   23    extraordinary family situation.        This is extraordinary

   24    rehabilitation and someone who suffered an extraordinary

   25    amount.



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    1                They say, well, go find somebody and complain to

    2     OPR.   It was in state custody, Your Honor.        It's not some

    3     vague statement.     His wrist was nearly broken.      It happened

    4     at about midnight.      It happened at the jail.     We were

    5     complaining about it at the time.

    6                So Your Honor, taking all of these into

    7     consideration, I would ask you, Your Honor, he did a great

    8     deal, he really took extra steps, and he really did save the

    9     Court and the government a lot of trials, a lot of time.           He

   10     helped a great deal.     And I don't think giving him 1 or

   11     2 points more than his brother got, it's still about 5 points

   12     less effectively than these other people who were charged 2,

   13     3 and 6 in the indictment.      Thank you, Your Honor.

   14                THE COURT:    Mr. Stern, anything more?      Then I want

   15     to hear from Mr. Mohammed obviously.

   16                MR. STERN:    Briefly.    We recommended 6 points for

   17     defendant's brother but not for substantial assistance.           If I

   18    remember correctly, we recommended 3 for his brother for

   19    substantial assistance, and we were still in the process of

   20     trying to square sentences with the earlier lower sentences

   21    that the Court had offered.       So we only recommended actually

  22     3 for defendant's substantial assistance.         And then in an

  23     attempt to create this comparative analysis, we recommended

  24     an additional 3.

  25                 MR. KATZ:    Your Honor, I was here in court.       It was



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    2                 MR. STERN:    3 plus 3 is 6.    It was a total of 6,

    3     that's correct.

    4                 MR. KATZ:    6 for cooperation.

    5                MR. STERN:     But the papers speak for themselves,

    6     and the Court is welcome to go back and look at the papers.

    7     I did not look at them right before court.         If I remember

    8     correctly, that's how we did it.       I have no objection if the

    9     Court wants to look at the papers.

   10                THE COURT:     I'm going to have to take a recess to

   11     look at it, but I want to hear from Mr. Mohammed first.

   12                MR. STERN:     But may I also say something else?

   13                THE COURT:     Yes.

   14                MR. STERN:     Defense counsel seems to be of the

   15     impression that the recommendation that we're offering is

   16     because of my distaste for him.       And I indicated in my papers

   17     and I will indicate again, I don't dispute that I dislike

   18     defense counsel.    I think it's very clear as the Court has

   19    seen this case develop why and I explained the reasons why

   20    including from the beginning being accused of essentially

   21    being someone who ethnically hates Arabs and is prosecuting

   22    people just for that reason, and then it just escalated from

   23    that point on.

   24                MR. KATZ:     I didn't say that.

   25                THE COURT:    I'm just not going to get into this



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    1     discussion because both of you are demeaning your positions

    2     when you get into this back and forth, and I'm not going to

    3     look at the relationship between the two of you.          I recognize

    4     it's not good, but I'm not going to permit that to hurt

    5     Mr. Mohammed in any way.

    6                MR. STERN:    And that's what I'm trying to get at.

    7     TnThile I acknowledge I do not like defense counsel for the

    8     reasons I explained in my papers and many more, I made very,

    9     very strong efforts to ensure that the recommendations that

   10     our office was making had nothing to do with my feelings for

   11     defense counsel at all.

   12                And, in fact, the decision to essentially ensure

   13     that we start recommending what we believed to be appropriate

   14     sentences from an objective standpoint and not consider the

   15     Court's other sentences was actually not my decision.          It was

   16     a decision that was contrary to what my position had been in

   17     the office and it was a decision that was made by the

   18     criminal chief in the office.      And I understand frankly why

   19    he thinks that's appropriate, and I think it's perfectly

  20     reasonable and appropriate.

  21                 But the point that I'm trying to make is that I

  22     wasn't somehow trying to change the government's position

  23     mid-stream in order to somehow be punitive against the

  24     defendant based on my feelings toward his counsel.           That

  25     absolutely did not occur.       And all of the decisions with



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    1     respect to 5K motions are reviewed by the chief of the

    2     narcotics unit and ultimately the chief of the criminal

    3     division, and that's what happened in this case.          And our

    4     decision with respect to what we're recommending is based on

    5     the defendant's cooperation period.

    6                 MR. KATZ:    Your Honor, I would appreciate if you

    7     would review what was recommended on the others including his

    8     brother because I still have that same feeling, and I think

    9     it's just unfair for it to read down on to my client.

   10                 THE COURT:    If you give me 1 minute, I'll go look.

   11                 MR. KATZ:    May I speak with him about what he would

   12     like to say while Your Honor is looking?        Would you mind?

   13                 THE COURT:   You can certainly do that.       I will go

   14     look at this with Mr. Arajuo and see if we can't get to the

   15     bottom of it.

   16                              (Recess taken.)

   17                 THE COURT:   First of all, with regard to Mr. Ayyeh,

   18     the government did move for a 6-level departure based on

   19     cooperation.    That's exactly what the brief says.        And you

   20    have a footnote saying you're comparing the cooperation of

   21     the parties, but there's no discussion of the 3-level

   22    departure plus an additional 3 based on the statute.

   23                 MR. STERN:   Then I apologize.     I thought that I had

  24     done that.

   25                 THE COURT:   I understand, but it appears you did



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    1     not.    You may well have gone through that process mentally.

    2     I'm not doubting that.      I'm just saying, though, that's what

    3     it said.

    4                 MR. STERN:    That's what our assessment was.

    5                MR. KATZ:     Your Honor, I appreciate you taking the

    6     time and looking that up.

    7                Your Honor, just two things, then my client would

    8     like to address you.

    9                THE COURT:     Sure.

   10                MR. KATZ:     One is that, you know, Mr. Mohammed was

   11     actually threatened, and his wife was actually threatened so

   12     that's not a distinction between him and Mr. Sanam.          And he

   13     was willing to walk into the lion's den in the Azut trial

   14     knowing that that was someone who had put a gun to somebody's

   15     head.   But once he threw himself into this cooperation, Your

   16     Honor, he threw himself in 100 percent.        I mean, he's just --

   17     he's been phenomenal in my experience.        And I don't know, I

   18     just don't seem to have the words to be able to get that

   19     through to the Court, just how phenomenal and helpful he was.

   20                THE COURT:    All right.

   21                MR. KATZ:     The last thing, Your Honor, is just for

   22     the record, I didn't give any legal advice Ahmad Jaris.

   23    Mr. Mohammed telling him to plead guilty is not the same as

   24    his lawyer giving him legal advice.

   25                THE COURT:    Okay.



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    1                 Let me hear from Mr. Mohammed.

    2                 DEFENDANT MOHAMMED:     Thank you, Your Honor.      I know

    3     you couldn't take it from my lawyer and my prosecutor for a

    4     moment, but I've been taking it for 3-and-a-half years

    5     already.    You know?

    6                 First of all, I want to start when I decided to

    7     plead guilty, I tried to plead guilty from Day 1 if I was --

    8     if I find out I was guilty.      But the prosecutor, he gave me

    9     16,000 pages to read and 5,000 tapes to listen to.          I didn't

   10     know I was guilty at all in the beginning till I find out

   11     from the law inside the jail that selling pseudoephedrine for

   12     some people who's doing it is illegal.        I know it in the

   13     jail.    When I know it in the jail, I decided I must start

   14     working my out to go and cooperate as much as I can.

   15                 And Mr. Stern, he didn't give me the chance for

   16     sending me here and there.      I spent one month in Las Vegas,

   17     and then from Las Vegas to San Bernardino, and I spend a few

   18     days there.    And then he send me -- instead of tell to me the

   19     right way, if you want your way down to get 3 years like the

   20     others, you can get -- you can just come and cooperate with

   21     us.    But he didn't do it, and he didn't give me no chance at

   22     all.

   23                 And instead he send me to Kern County for 3 months

   24     there.   And then I was working my way up to come to MDC to

   25    see if I can even see my discovery, take a look at my



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    1     discovery for the first time after 4 months.         I didn't see

    2     it, and I didn't even hear one tape during that time when I

    3     was in Kern County till I came here.

    4                V~hen I came here, I was trying my best to listen to

    5     the tapes to see at least why I am here, why I am at MDC, why

    6     I'm in jail, to find out what kind of indictment I had.           I

    7     didn't know what kind of -- I didn't even know what

    8     conspiracy means.     I didn't know nothing about why they

    9     brought me to the case, why they put me No. 1.

   10                 Is it my problem if they were recording my phone

   11     and they didn't record some other people's phone?          And they

   12     put me No. 1 as I was giving some people direction to do.             If

   13     they record Mohammed Shabib's phone, they will get more

   14     evidence than what they got on my phone and if they recorded

   15     Mohammed Khahallah's phone, too.       But unfortunately, my phone

   16     was the easiest one for them, and they just get the evidence

   17     and the information about my phone only.

   18                And I know myself, I wasn't giving nobody,

   19     directing nobody except if I need some help, I just ask my

   20     nephew to do something for me because I expect my nephew to

   21     do it no matter what unless if he knows he was doing illegal.

   22     But I ask him to do me a favor, he will do it.         And if he ask

   23    me to do a favor, I will do it.        I wasn't directing him the

   24    way -- how they put it out.

   25                And at the same time Mr. Stern, he's telling me in



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    1     the papers like the past 2 years I was challenging the

    2     government.    I am not challenging no government.        Countries,

    3     they cannot challenge the government of the United States.

    4     Mohammed Khalil to come and challenge the government, I

    5     didn't challenge the government.       I didn't understand what he

    6     wants from me.     That's all.   And when I understood what he

    7     wants from me, I went right away, and I start cooperating

    8     from Day 1.    I told him I'm going to be truthful, and I will

    9     say whatever truthful -- whatever truth, I will say it to

   10     you, and I will be helpful as much as I can.

   11                And he appreciated that, and he told me,

   12     Mr. Mohammed, we don't want you to say nothing except about

   13     one person only which he's telling me now he doesn't want to

   14     give me no credit for nobody else.       No.   He told me just I

   15     want you to speak, and we want to focus on someone only.           We

   16     don't want -- know you have some other information, but we

   17     want it delayed.    And most of the information which I want to

   18    say, it's still delayed, still delayed.         And he didn't hear

   19    it.   And I came to cooperate because I want to get any kind

   20    of credit as I can, as much as I can from the government.

   21                Yes.   The one person he was -- he wants to be

   22    focused on which it was Tony Musitef only because at that

   23     time, he didn't plea.     And I told him Tony Musitef, he is

   24    very easy, but I want to say something more important than

   25    some other people, but they said no, no.         We want to just



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    1     focus on Tony Musitef only.

    2                 Because I know if I talked to Tony Musitef one time

    3     or two times, I will make sure he is guilty because I know

    4     now he is guilty.     And that day I know he is guilty, and I

    5     can convince him.     And I can convince him to come and save

    6     the government all that time and to save himself going to the

    7     trial and lose the trial because I know I'm going to be

    8     standing against him on the trial.

    9                 But about my brother, about my brother, I sit with

   10     my brother more than 2 years inside the jail just trying to

   11     convince each other, okay, when we find out that we should do

   12     something with the lawyers and take advice from the lawyers.

   13     Then we took the advice from the lawyers now, wait, wait,

   14     wait.    When the time came, we start convincing each other --

   15     I convinced him so much we have to.       Even he wasn't -- till

   16     this moment, he knows himself he's not guilty.

   17                 And even in the sentencing day, he was asking, do

   18     you want to withdraw the plea?      I know this because he knows

   19     till now, he is not guilty, and I convinced my brother to

   20    come.     And I know my brother, he wants to go to the trial 100

   21    percent, and I work on him 100 percent, too, just to convince

   22    him to come here.      This is to get that credit for myself and

   23    at the same time to save -- to save him from going in a bad

   24    avenue.

   25                 And about Amjad, I did the same way.       I did what I



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    1     can.    He's my nephew, and he listen to me.       He was listening

    2     to me when I was outside, and he was listening to me when I

    3     was inside, and he was taking the advice from me.          He didn't

    4     even take it from his own lawyer as much as he took it from

    5     me.    He went and he said to the government on the 14th floor

    6     one day -- like one month before, and he refused even to

    7     talk, to cooperate because he was not convinced till I put

    8     the pressure on him in the way to convince him to come and

    9     plead, and he did this.

   10                 And I came, and I brought with me my brother and my

   11     nephew and Nabhan Isa which I was talking to Nabhan Isa every

   12     day.   We have to, we have to, we have to.       Okay, because we

   13     know, we have evidence, and at the same time, we did

   14     something wrong, and we have to go and cooperate with the

   15     government.

   16                 And finally, he said okay, work it out, and let's

   17     go, and the four of us will go together.        And that's what we

   18     did.   We came four of us together this courtroom in front of

   19     you, and we pleaded guilty before even we cooperated, before

   20     we sit with the government one time to show how good still I

   21     tried to deal with the government.

   22                 And the government when we were there, they

  23     promised so many things for us.        Mr. Mohammed, you're doing

  24     very good.     Mr. Mohammed, you're doing just like Shabib.         Mr.

  25     Mohammed, you are gonna get the same thing.          When they needed



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    1     me, when they needed me, maybe when they know Musitef was

    2     going to the trial, their language was different than the end

    3     of the language just like now.       I don't know.    I don't know.

    4     i~hat looks like.

    5                And when it comes to -- there is so many issues.

    6    [then it comes to Mohammad's suit, I tried my best to talk

    7     about Mohammad's suit and to go to the trial.         I know the man

    8     is dangerous, and I know him from outside.         And I know he is

    9     going to the trial, and I offered myself to say whatever I

   10     know about him and to go to the trial.        And even I know it's

   11     going to be -- maybe my family will be in danger, but I offer

   12     my help to the government.      And they told me just wait on the

   13     side till we finish.     If we need you, we will ask for you, if

   14     we don't need you -- and it happened, and they didn't need my

   15     help.

   16                I tried some other things which Mr. Katz didn't

   17     even mention, that I tried to help the government for people

   18     who knows Said Abdelaziz before he went to the trial.            Like

   19     Isak Khalil, I told him he dealt with him.         And Abdeen,

   20     somebody's name, Abdeen, I called him Mr. Ted Salamay, and I

   21     called him Abdeen, he's in custody, and he's willing to

   22     testify against Said.     They didn't even mention that, too,

   23     which I was doing my best to get any credit I can and to tell

   24     the truth whenever I go.

   25                During the time when I was cooperating with the



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    1     government, as much as I was talking to Mr. Stern and at the

    2     same time, I was talking to Ted Salamay, and sometimes I talk

    3     to Scott Pagel.    Mr. Ted Salamay, he wants me out a few times

    4     to help outside as much as I -- you know.         And we try to talk

    5     to Mr. Stern like that and to ask him, the government, they

    6     needed my help outside, and he refused.        And after that, I

    7     stopped seeing Mr. Salamay in the office which I went to the

    8     office after him maybe another six, seven times.          I never met

    9     with Mr. Salamay or what happened with him, I don't know.

   10                When the time came, and they brought Mohammad

   11     Hammad, they didn't bring Mohammad Hammad because -- because

   12     they have enough evidence on him after we got caught.            No.

   13     They brought Mohammad Hammad because they have enough

   14     evidence from me, from my tapes, from the way how I was

   15     expressing my feelings toward Mohammad Hammad.         How come he

   16    is outside?     I said that to them so many times.       He was

   17    outside.    Why he's outside and we are inside?        [thy is --

   18                He's one of the big dealers, one of the people who

   19    buys from every one who sells pseudoephedrine.          He bought

   20    from me.    He brought from Nabhan Isa.       He bought from Mufid

   21    Isa.   He bought -- he buys pseudoephedrine from so many

  22     sources.    v~hy he's outside and we are inside?       And I have

  23     enough evidence to prosecute him.        And I found the real tapes

  24     and the good tapes to prosecute him.

  25                 And before even they talked to me, they want me to



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    1     go through all the 5,000 tapes to find his voice in all those

    2     tapes, and I told them I want to save you all this time, and

    3     I want to get you exactly the where is the phone calls for

    4     Mr. Mohammed Hammad with me.         And I did it within maybe

    5     half-an-hour instead of maybe 5 months if I want to look for

    6     those tapes.    Okay.

    7                  About Nabhan Isa, just to say it again, Nabhan Isa,

    8     he get more points than me, and he was found liar on so many

    9     occasions.    And the government's saying he gave the

   10     government 1,000 case.      Believe me, I know the whole story.

   11     He didn't give the government no cases.        He just want to hurt

   12     Isawi.    That's all.    Not to help the government but to hurt

   13     Isawi in this way.      He can sell his other thousand cases on

   14     other side of the town.      Okay.    And that's what he did, and I

   15     know that for sure.      Okay.

   16                 About Mr. Sallal, I don't know what Mr. Sallal, he

   17     gave cooperation to government, but Mr. Sallal, he got 8

   18     points.

   19                About Mr. Stephen Almasri, I think few day ago, you

   20     gave him 51 month.      That's mean he got more than 9 points

   21     from the government and from you which what he did, I think

   22     he did nothing except explaining the phone calls for the

   23     government which I did in so many occasions, and I did the

   24    same thing to the government so many occasions.

   25                Plus I say I saved myself from going to the trial



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    1     to the government which I know myself, I should get credit on

    2     myself for getting -- not going to the trial and not taking

    3     my brothers and not taking my nephew and not taking Ahmad

    4     Jaris which Ahmad Jaris, I lived with him for more than 6

    5     months.     He's making it like it's nothing, but I did so much

    6     influence on Ahmad Jaris to make him plead guilty.          I did

    7     what I have to do.

    8                  And till now, even till now, I called the

    9     government 3 weeks ago, I don't know why there's something

   10     between him and Katz, 3 weeks ago, and I told him there was a

   11     crime going on inside the jail.       And then he said, okay, how

   12     is it?     And I explain it to him.    And then I told him -- I

   13     called him again -- I told Mr. Scott Pagel again it's

   14     happening.     And then he ask me did Mr. Katz know about?       I

   15     said no.    He said -- he said you should tell him because we

   16     know already he knows.

   17                  V~hat does that mean?   As long as Mr. Katz knows

   18    about it, that's mean you want to leave the crime going on or

   19    whatever?     I don't know.    That's mean they have something

   20    against Mr. Katz.      And they don't want me to even get the

   21    credit for that, and they don't even want to stop that crime?

   22    They -- you know, they just wanted to go and because the

   23    relationship with Mr. Katz, and I have no idea what's going

  24     between them and Mr. Katz.

   25                 And at that time if I want to explain myself and my



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 1     family, how they've been living through the past 3 years, I

 2     think it's better if I let my wife talk about it because

 3     she's living it moment after moment, day after day, and she's

 4     having the suffering which I would be talking about me.           And

 5     her every phone call and every visit, I see her, and we talk

 6    about to raise the family in the right manner in the right

 7    way.   And -- yes, yes.

 8                MR. KATZ:    Your Honor, could I have Ms. Raja Atrash

 9    come forward for just a moment?        I don't really know what

10    she's gonna say, but apparently --

11                THE COURT:      Yes.   She may.

12                MR. STERN:      Your Honor, thank you very much for

13    your taking the time to Mrs. Mohammed.          Just for the record,

14    I think Ted Salamay is a DEA specialist.

15                THE COURT:      I know who Ted Salamay is.

16                MR. KATZ:    Mrs. Raja Atrash.

17                MRS. ATR.ASH:    Hi, Your Honor.     As Mr. David Katz

18    was saying earlier about my situation, I was the one that was

19    in the situation.     You know, talking about is way less

20    painful than going through it and going through the torture.

21                Ever since my husband has been gone, he has left me

22    8 kids and $300 in my pocket.        We had a lot -- we went

23    through a lot of ups and downs in our lives.          And if it

24    wasn't for Samir Mohammed which is my stepson back there, he

25    had to throw all his education away.          He was planning on



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 1     going to college.     And on one day, he just woke, and he was

 2     responsible for eight kids to take care of and put food on

 3     the table, clothing on their back and a roof over our head.

 4    Instead of him doing that, he should have still had his dad

 5     to take care of him in that kind of manner.

 6                I have been thrown from one house to another, and

 7    there was times that I couldn't pay my rent for 2 months in a

 8    row.    I had the Sheriff Department come and take all my stuff

 9    out and throw them in the front yard.        I had no place to go.

10    I went to the shelter for just 1 hour.        I sat there, and they

11    had explained to me that they only have room for three

12    people, and then the other -- every two other kids has to be

13    transferred to a different shelter in order for them to have

14    room.

15                That's when I turned to my dad, and he's also

16    available here in this courtroom, and we all had to live with

17    him for a month in Upland.      My kids, they couldn't attend to

18    their schools and -- because I couldn't afford the gas.           We

19    lived in Moreno Valley at that time.        Their grades was

20    falling apart.     I didn't know what to do.      I didn't have a

21    job.    I didn't have any money so I started borrowing money,

22    and I'm up to my head with debts right now.

23                All I can say is my husband's always provided

24    everything for these kids.      And he's always loved them and

25    cared for them.     All I'm asking is my husband should be home



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 1     where he belongs with his kids.       He is much more needed to be

 2     at home with his kids than a jail cell would ever need him.

 3     Thank you so much for your time.

 4                THE COURT:      All right, thank you.

 5                MRS. ATR.ASH:    Mm-hmm.

 6                MR. KATZ:    Thank you, Your Honor.

 7                MR. STERN:    Your Honor, may I respond to a couple

 8    of the comments that Mr. Mohammed made?

 9                THE COURT:    Well, I don't know if Mr. Mohammed's

10    finished yet.

11                Are you finished, Mr. Mohammed?

12                DEFENDANT MOHAMMED:     All what -- all what I'm

13    asking from the government to put everything under

14    consideration for what I did, what I been through and what I

15    face and how much I put my family in danger.

16                Thank you very much, Your Honor.

17                THE COURT:    All right.

18                Okay, Mr. Stern, what did you want to say?        Keep it

19    brief, please.

20                MR. STERN:    I feel for the family because it's

21    always difficult for the family who had nothing to do with

22    criminal activity whatsoever.       The problem is that all

23    defendants bring with them typically family, and it's a

24    difficult situation for the Court to make the assessment

25    about what's an appropriate sentence when the family has such



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 1     an emotional impact on any of us who listen to what's going

 2     on with them.

 3                 To the extent that they had financial issues, I do

 4     know that the brother, Abdallah Ayyeh, recently settled his

 5     forfeiture case with Asset Forfeiture Division and I believe

 6     received somewhere 40 and $60,000 in cash back from the

 7     government.    Mr. Katz I'm certain knows better because he

 8     handled that case.

 9                 MR. KATZ:    Your Honor, that was minus an attorney's

10    fee, and then the remainder went to pay credit card bills.

11    There was no --

12                 THE COURT:    I'm assuming that the financial

13    situation of the family is --

14                 MR. KATZ:    Awful.

15                 THE COURT:   I'm assuming that, and that's true of

16    many of the families.      Now, having said that, it is something

17    that disturbs me greatly, but I've got to also ask myself how

18    did we get here?     And we didn't get here because of something

19    you did, Mr. Katz, or something Mr. Stern did or something I

20    did.   And so it is a difficult, difficult problem, but I

21    really have to ask myself whether the mitigating factors are

22    such that that deserves a further departure.

23                 I mean, I am sad to say I don't think it does in

24    this case.     I understand this has been a terrible experience

25    for the family.     My heart goes out to the family.       But I



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 ~■    think that every family -- not every family but almost every

 2    family that has had a loved one who's been a defendant in

 3    this case has suffered greatly.       The Isas certainly have.

 4    Others have.     So I think that's enough said on that.

 5                I do think, though, as I've indicated earlier, it

 6    is completely unfair that Mr. Mohammed have a 5-level

 7    departure and his brother a 6-level departure because I do

 8    think Mr. Mohammed probably -- his decision probably broke

 9    the decision of the family to come in together.          On the other

10    hand, I have to balance that against the fact that we are

11    talking about someone who had a much more significant role

12    than his brother.

13                Now, that doesn't mean that his cooperation should

14    be minimized, but I do think if I start looking at this in

15    terms of the overall factors that I may look at after Booker,

16    I still think that there has to be some proportionality here,

17    and that's why I think he probably should have a sentence

18    longer than his brother's.

19                But I cut Mr. Stern off so let me --

20                MR. STERN:    V~hat I also want to say was we did tell

21    Mr. Mohammed on several occasions that he was doing very well

22    because we thought he was in many respects being very candid

23    with us, being very forthcoming with us, providing us with

24    lot of helpful information, in particular those two tapes

25    that I thought were very helpful in the Musitef case that we



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 1     hadn't either found or didn't appreciate the value of.

 2                But to the extent that Mr. Mohammed told the Court

 3     that either I or someone else said to him, you're going to

 4    get the same thing as Shabib, that is not true.          Because

 5    anytime the defendant or his counsel, and they regularly did

 6    try and pin us down to exactly what we were going to

 7    recommend, broached that subject, we specifically said we

 8    would not, we could not discuss what type of recommendation

 9    we would make.     So there's no question that that type of

10    discussion never occurred.

11                To the extent the defendant's saying you're not

12    giving me anything for pleading guilty myself, I mean, I

13    stopped my own trial for occurring, that's not true also

14    because he got 3 levels off for acceptance of responsibility.

15                THE COURT:    I understand.    You know, I think now

16    we're just sort of micro managing.

17                MR. STERN:    And just finally then may I say, again,

18    there seems to be some notion that my relationship with his

19    defense counsel may have stopped him from as recently as 3

20    weeks ago giving information to the government, and that I'm

21    somehow stopping that because I don't like his defense

22    counsel.

23                V~hat I can say to the Court is that Mr. Mohammed

24    would routinely call Agent Pagel and Agent Salamay who the

25    reason he was no longer in our debriefings was he was



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 1     transferred to a different unit.       He's no longer in the

 2     Riverside office.       But when Mr. Mohammed would call Agent

 3    Salamay and Agent Pagel, and then the agents would tell me

 4    about it, I mentioned that on occasion to defense counsel who

 5    indicated very clearly that he did not want the government

 6    talking to Khalil Mohammed without him being present.           So I

 7    specifically indicated to the agents that if the defendant

 8    calls, not to talk to him because I didn't want to violate

 9    the direction that I had received from his counsel.

10                 So I understand why he might not understand this

11    but the direction to the agents which is we can't talk to you

12    without your attorney came from me, and it was our attempt to

13    try and, you know, recognize and respect that direction we

14    had received from his counsel whether or not to talk to him

15    without him being present.

16                 MR. KATZ:    Mr. Mohammed called and had given

17    information to Mr. Salamay if he'd answer the phone and to

18    Mr. Pagel.    I have -- he's also called -- he's given

19    information right up until three weeks ago.         They took the

20    information and that this was fine.        Your Honor, the

21    conversation that he had was with Mr. Salamay, the one that

22    Mr. Stern said wasn't with him.       It was with Mr. Salamay.

23                Your Honor, if I can just close with this very last

24    thought.    He's talked about and I have talked about it and we

25    don't know all the details.       A lot of what he says is hearsay



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 1     at the prison and I could be wrong on some numbers.          The

 2     Court will know better.      It appears Sallal got 8 points.

 3     Almasri got 9 points.     As I talked about Isa, he was charged

 4     among the top 4 and he is -- here's a funny thing.         They

 5    didn't charge these people alphabetically.         They charged them

 6    with role.    They were telling, you know, oh, they weren't big

 7    players.    No information.    I didn't charge Mr. Hamayel Number

 8    2 out of 42 defendants, Mr. Stern did.        I didn't charge

 9    Mr. Khahallah number 3 out of 40 some defendants, the

10    government did.     They charged Shabib way up there.       They

11    charged these other people way up there.

12                The reality is these people effectively did get 12

13    points.    in~hen Your Honor says they have to be comparable, I

14    agree with Your Honor there that is to be proportionally and

15    really step back from this six points for his brother who

16    provided no discernible cooperation and he provided so much.

17    What message do we send to that Amjad Jaris his main

18    cooperation I think was to bring himself in.         He apparently

19    got and Sallal got 8 points, Almasri 9.        Other people

20    effectively got 12.

21                If Your Honor could please, especially since

22    apparently there's no reduction being given on a downward

23    departure request for the extraordinary family obligation,

24    Your Honor, if you could please see your way to at least

25    giving him 8 or 9 points off for his cooperation and the



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 1     range would be 57 months to 63 months, something like that.

 2     That's what proportional and it takes into account his role

 3    and he will still be two years higher or more than the

 4    people, the next three in the indictment in role.          Those are

 5    high role people I'm comparing him to.

 6                THE COURT:    I just don't agree.     Sentencing is the

 7    thing I absolutely abhor, and I hope that the judgments I

 8    make are fair and appropriate, but I just think -- I think

 9    that a 6-level departure is appropriate in this case.           I do

10    not think anything more based on what I've heard today is

11    appropriate.     There may -- for all I know, there may be a

12    reason in the future that causes me to come back and revisit

13    this, but for today, I think the answer is the 6 levels, and

14    I intend to sentence Mr. Mohammed to 87 months.

15                I will recommend him to the Drug and Alcohol

16    Program at the Bureau of Prisons in the event you think that

17    would be of assistance in terms of a sentence reduction,

18    Mr. Katz.

19                MR. KATZ:    Your Honor, I appreciate Your Honor

20    recommending the drug and alcohol program.         Also recommending

21    a camp somewhere here in Southern California.

22                THE COURT:    And I'm prepared to do that if he's

23    camp eligible.

24                MR. KATZ:    Your Honor, I --

25                THE COURT:    I think that's something for you folks



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 1     to take up.

 2                MR. KATZ:    Your Honor, I know we've been at this a

 3    long time, but his brother got 6 points for cooperation.             He

 4    avoided three trials.      Tn~hat message does that send,

 5    Your Honor?

 6                THE COURT:    Mr. Katz, I've heard you say that.         I'm

 7    not persuaded, and I am going to sentence as indicated.

 8                All right.    Are we prepared to have me pronounce

 9    sentence at this stage?

10                MR. KATZ:    Could we have a moment, Your Honor?

11                THE COURT:    Sure.

12                MR. KATZ:    Your Honor, may I have just one moment

13    to discuss something with defense counsel?

14                THE COURT:    Sure.

15                MR. STERN:    I don't object to it.

16                THE COURT:    Fine.

17                MR. KATZ:    Your Honor, thank you very much.       We

18    just discussed obviously Rule 35 and hopefully having another

19    meeting, and we're prepared to go forward.

20                MR. STERN:    May I just clarify something, Your

21    Honor?   I don't want there to be any misunderstanding.          The

22    plea agreement indicates that the defendant has a continuing

23    obligation to cooperate about those events that are the

24    nature of what he was telling us about and --

25                THE COURT:    Right.




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 1                MR. STERN:    -- about those events that he has

 2    collected knowledge of to this point.

 3                Now, I've explained to his counsel and him because

 4    I don't want there to be any miscommunication or

 5    misunderstanding that Rule 35s are always a possibility in

 6    circumstances, for instance, where someone gets sentenced and

 7    they go to jail, and they learn about criminal activity that

 8    they were not aware of at the time that they were cooperating

 9    with the government.      So, for instance, if defendant got

10    sentenced -- gets sentenced now, goes into custody and learns

11    that there's a drug ring in the jail and provides us with

12    information about it, there's certainly a possibility under

13    that circumstance that he may get a Rule 35.

14                But as I put in the plea agreement and as I've

15    described to defendant and counsel, Rule 35s don't come in

16    drips and drabs for every incremental piece of information

17    that he provides that he's aware of at this point in time.

18    If, for instance, a fugitive who is arrested -- excuse me, if

19    someone who's a fugitive gets arrested is going to trial and

20    we ask him to testify, he's required under the terms of his

21    plea agreement to testify to that, to give truthful

22    information without getting additional benefits for that.

23                That's the nature of the terms of our agreement.

24    And I don't want anything I've said to him or to his counsel

25    to be misunderstood, and that's why I'm placing it on the



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 1    record.

 2                MR. KATZ:    Your Honor, I'm not sure that I agree

 3    with that reconstruction of the plea agreement.

 4                But I think the key thing is that there are these

 5    people out there like Amir, Hammad and Almasri and so forth.

 6    And if may client were to learn somehow that there was

 7    another shipment that was taking place because I mentioned

 8    already that we believe these people still have ongoing

 9    operations -- I said we, Mr. Mohammed believes that, his

10    intention would be to bring that information to the

11    government's attention.

12                I was just pointing out that the government has

13    been very busy.     We understand that.     They haven't had a

14    chance to explore all that.       He would bring that information

15    forward, the government would have a meeting with him, and

16    then obviously, it's up to the government to evaluate that

17    information.    That was more the prospective cooperation or

18    Rule 35 that we had in mind.       Obviously, if he learns of a

19    prison drug ring, that's an easy one.

20                THE COURT:    All right.   All right.    Well, the point

21    is I'm not going to weigh in one or the other on that.          It's

22    something that hasn't, you know, occurred.         If it's brought

23    to my attention, down the road, I'll deal with it then.

24                All right.    Then it is ordered that the defendant

25    shall pay to the United States a special assessment of $100



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 1     which is due immediately to the Clerk of the Court.

 2                Pursuant to Section 5E 1.2 E of the guidelines, all

 3    fines are waived as it is found that the defendant does not

 4    have the ability to pay a fine.

 5                Pursuant to the Sentencing Reform Act of 1984, it

 6    is the judgment of the Court that the defendant, Khalil

 7    Mohammed, is hereby committed on Count I of the indictment to

 8    the custody of the Bureau of Prisons to be imprisoned for a

 9    term of 87months.

10                Upon release from imprisonment, the defendant shall

11    be placed on supervised release for a term of 5 years under

12    the following terms and conditions:

13                1.   The defendant shall comply with the rules and

14    regulations of the U.S. Probation Office and General Order

15    318.

16                2.   The defendant shall participate in outpatient

17    substance abuse treatment and submit to drug and alcohol

18    testing as instructed by the probation officer.          The

19    defendant shall abstain from using illicit drugs, using

20    alcohol and abusing prescription medications during the

21    period of supervision.

22                3.   As directed by the probation officer, defendant

23    shall pay all or part of the costs for defendant's drug

24    treatment and alcohol treatment to the aftercare contractor

25    during the period of community supervision pursuant to Title



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 1    18 United States Code, Section 3672.        The defendant --

 2                MR. KATZ:    Your Honor, could you say that again?

 3                THE COURT:    Sure.

 4                MR. KATZ:    Mr. Mohammed didn't understand it, I'm

 5    sorry.

 6                THE COURT:    As directed by the probation officer,

 7    the defendant shall pay all or part of the costs for the

 8    defendant's drug treatment and alcohol treatment to the

 9    aftercare contractor during the period of community

10    supervision pursuant to Title 18 United States Code, Sectio,

11    3672.

12                MR. KATZ:    Thank you.

13                THE COURT:    Defendant shall provide payment and

14    proof of payment as directed by the probation officer.

15                4.   During the period of community supervision, the

16    defendant shall pay the special assessment in accordance with

17    this judgment's orders pertaining to such payment.

18                The Court further recommends that the defendant be

19    placed in the Bureau of Prisons 500-hour intensive drug and

20    alcohol program.     And the Court further recommends the

21    defendant be permitted to serve his term at a camp facility.

22                MR. KATZ:    Thank you, Your Honor.

23                THE COURT:    All right.

24                MR. KATZ:    Your Honor I think there are two more

25    things for the record.      I think one, I don't have a



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 1    photographic memory of the plea agreement, but it's probably

 2    advisable to admonish him about his right to appeal.

 3                THE COURT:    I am going to right now.

 4                Mr. Mohammed, you have reserved limited rights to

 5    appeal in your plea agreement, and you must appeal within

 6    10 days of the date of this sentence.          If you cannot afford

 7    to pay for counsel, counsel will be appointed for you.           Do

 8    you understand that?

 9                DEFENDANT MOHAMMED:     Thank you, Your Honor.

10                MR. KATZ:    Your Honor, I think someone else had

11    this issue.    It would not be my intention to represent Mr.

12    Mohammed on appeal if he were to pursue an appeal.          I would

13    make sure that his notice of appeal gets filed.          I wonder if

14    the court would be willing to relieve me after -- on appeal

15    after filing the notice of appeal.          I'm happy to stay on as

16    his attorney in this court.       For instance, if we do the Rule

17    35 or something like that, I'd like to see that through and

18    help him as much as I could.       But I'm just not interested in

19    doing an appeal.

20                THE COURT:    Well, the answer on this is very

21    simple.    One, I expect you to file the notice of appeal.         I

22    will not leave Mr. Mohammed without counsel so we are going

23    to have to appoint appellate counsel immediately on your

24    filing the notice of appeal.       And --

25                MR. KATZ:    Would Your Honor be willing to do that?



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 1                THE COURT:    V1hat?

 2                MR. KATZ:    Would Your Honor be willing to pick

 3    somebody good to do that, to be his appeal counsel or would

 4    Your Honor prefer I make that motion to the 9th Circuit?

 5    Whatever the Court wants.

 6                THE COURT:    I think you need to make it to the 9th

 7    Circuit.    But, I mean, I think --

 8                MR. KATZ:    The clerk's saying 9th Circuit.

 9                THE COURT:    No, the clerk is saying that's true

10    cause the motion has to be made to the 9th Circuit.          I am

11    going to relieve you only as of the time counsel comes in for

~~~   Mr. Mohammed.

13                MR. KATZ:    For the appeal.    Understood, Your Honor.

14                THE COURT:    Okay.    And then you had a second thing.

15                MR. KATZ:    Your Honor, yes.    And I don't mean to

16    dwell on this, but I made a motion to strike those couple of

17    pages from the government's filing on Thursday.          I think

18    that's an appropriate motion.       I don't have any other remedy.

19    I don't think that should be part of the record.          It is an ad

20    hominum attack that is relevant to nothing except Mr. Stern

21    venting in a really very unprofessional way.

22                THE COURT:    Well, I'm not -- since it's filed under

23    seal, I am not going to move -- I'm not going to strike

24    anything.    I think we are where we are.      I am mindful that

25    the statements of Mr. Stern were probably not as judicious as



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 1    I would have like them to have been, but I'm not prepared to

 2    strike part of the memorandum at this stage because I need to

 3    have the pages before me.        It may be material on appeal.     And

 4    so for all those reasons, I'm going to permit them to remain

 5    because I suspect that there are certain arguments that

 6    you're gonna want to make or someone, an appellate lawyer's

 7    going to want to make, and those pages may be important to

 8    the record.

 9                MR. KATZ:    Well, that's over my objection.

10                THE COURT:    Okay.

11                MR. STERN:    Any remaining counts I move to dismiss

12

13                THE COURT:    All right.    The Court will grant this

14    motion.

15                MR. KATZ:    Your Honor, I don't know exactly what

16    the procedure is, but if Mr. Mohammed could have a few

17    minutes with his family.        He's not --

18                THE COURT:    I'm going to ask the marshals to permit

19    that.    I know you have to get him back to NIDC.

20                Can the marshals work that out from a security

21    point of view?     Thank you.

22                MR. KATZ:    And I don't have to specifically ask,

23    but he get like a hug?      Because I think -- not from the

24    Court.    I mean if the Court approves that he get a hug

25    because I think sometimes that's an issue.



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 1                 THE COURT:    Well, I'm not going to get involved in

 2     that.   I just think -- I'm going to permit them to remain

 3    here in the courtroom, and the marshals will remain and let

 4    him spend time with his family.

 5                 MR. KATZ:    Okay.   Thank you, Your Honor.

 6                 THE COURT:    Thank you.

 7                 MR. KATZ:    Thank you for taking all the time this

 8    afternoon.

 9                 THE CLERK:    This court is adjourned.

10                 (Proceedings were concluded at 5:30 p.m.)

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 1

 2                                     CERTIFICATE OF REPORTER

 3

 4    COUNTY OF LOS ANGELES                     )

 5                                                  SS.

 6    STATE OF CALIFORNIA                       )

 7

 8    I, LAURA ELIAS, OFFICIAL REPORTER, IN AND FOR THE UNITED

 9    STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA,

10    DO HEREBY CERTIFY THAT I REPORTED, STENOGRAPHICALLY, THE

11    FOREGOING PROCEEDINGS AT THE TIME AND PLACE HEREINBEFORE SET

12    FORTH; THAT THE SAME WAS THEREAFTER REDUCED TO TYPEWRITTEN

13    FORM BY MEANS OF COMPUTER-AIDED TRANSCRIPTION; AND I DO

14    FURTHER CERTIFY THAT THIS IS A TRUE AND CORRECT TRANSCRIPTION

15    OF MY STENOGRAPHIC NOTES.

16

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18    DATE:                   `~
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19                                 n

20

21    LAURA MILLER ELIAS, CSR 10019

22    FEDERAL OFFICIAL COURT REPORTER

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24

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                               UNITED STATES DISTRICT COURT
